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  Andrew T. Ryan, Esq. (SBN 227700)
1
  THE RYAN LAW GROUP
2 317 Rosecrans Ave.
  Manhattan Beach, CA 90266
3 Tel: (310) 321-4800
  Fax: (310) 496-1435
4
  Andrew.ryan@theryanlawgroup.com
5
     Attorneys for Plaintiffs
6
7
8                        UNITED STATES DISTRICT COURT
9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                    WESTERN DIVISION
11
12
      SARA OCHOA and KIMBERLY                     Case No. 2:22-cv-05896-GHW-AS
13    BROWN, on behalf of themselves
      and those similarly situated,               FOURTH AMENDED CLASS
14                                                ACTION COMPLAINT FOR
15                   Plaintiffs,                  DAMAGES AND INJUNCTIVE
                                                  RELIEF
16          v.
                                                    1. Violation of California’s Unfair
17    ZEROO GRAVITY GAMES LLC,                         Competition Law (“UCL”)
      a Delaware limited liability                  2. Violation of California False
18    company,
                                                       Advertising Law (“FAL”)
19                   Defendant.                     3. Violation of the California
20                                                     Consumer Legal Remedies
                                                       Act (“CLRA”)
21
                                                    4. Fraud
22                                                  5. Negligent Misrepresentation
23
                                                    6. Violation of Arkansas
                                                       Deceptive Trade Practices Act
24                                                  7. Unjust Enrichment
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                                   FOURTH AMENDED COMPLAINT
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1          On May 5, 2022, plaintiff Sara Ochoa (“Ms. Ochoa”) filed an action in
2    the Superior Court of the State of California, County of Los Angeles,
3    assigned case No. 22-STCV-14939. On July 18, 2022, Ms. Ochoa filed a
4    First Amended Complaint (“FAC”) in the Superior Court of the State of
5    California, County of Los Angeles. On August 19, 2022, defendant Zeroo
6    Gravity Games, LLC (“ZGG”) removed this civil action from the Superior
7    Court of the State of California, County of Los Angeles, to the United States
8    District Court for the Central District of California, Western Division, alleging
9
     that this Court has jurisdiction under the Class Action Fairness Act
10
     (“CAFA”), 28 U.S.C. §1332(d). On October 13, 2022, Ms. Ochoa filed a
11
     Second Amended Complaint (“SAC”) against ZGG and AppLovin Corp.
12
     (“AC”).
13
           On February 3, 2023, the Court granted, without prejudice, motions
14
     filed by ZGG and AC to dismiss the SAC. The Court granted Ms. Ochoa
15
     leave to amend, including leave to add a plaintiff. Ms. Ochoa, a citizen of
16
     Los Angeles County, and Kimberly Brown (“Ms. Brown”), a citizen of the
17
     State of Arkansas (collectively, “Plaintiffs”) filed a Third Amended
18
     Complaint (“TAC”) on behalf of themselves and those similarly situated
19
     against ZGG and AC on February 27, 2023. On May 25, 2023, the Court
20
     denied-in-part and granted-in-part a motion to dismiss by ZGG and AC and
21
     granted plaintiffs leave to amend. Plaintiffs bring this Fourth Amended
22
23
     Complaint on behalf of themselves and those similarly situated and allege

24   as follows:

25                                  INTRODUCTION
26         1.      ZGG develops, distributes and operates the mobile games
27   Jackpot Master Slots-Casino (“Jackpot Master”) and Cash Tornado Slots-
28   Casino (“Cash Tornado”) (collectively, “Games”) that compete in the so-


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1    called “social casino” market.
2          2.    The Games provide users with virtual slot machines that are
3    played with virtual gold coins. Users bet the coins and win or lose those
4    coins based on the randomized outcomes of the Games’ slot machines and
5    other games of chance.
6          3.    When a user’s coin quantity drops below the minimum
7    requirements to play the Games’ slot machines, he or she is unable to
8    continue playing. At that time, the Games present users with pop-up ads
9
     encouraging them to purchase more virtual coins in exchange for real world
10
     money to continue their gameplay. These pop-ups often purport to offer
11
     significant sales and discounts for the purchase of virtual coins with
12
     misleading price and coin quantity comparisons.
13
           4.    The Ninth Circuit has held that earlier versions of Big Fish
14
     Casino, a mobile game that also offers virtual slot machines, “constitutes
15
     illegal gambling under Washington law.” Kater v. Churchill Downs Inc., 886
16
     F.3d 784, 785 (9th Cir. 2018). The Games here likewise constitute illegal
17
     gambling under Washington law. The Games also violate California, and
18
     Arkansas gambling laws.
19
           5.    This lawsuit is brought on behalf of Plaintiffs and those similarly
20
     situated who have had their money taken from the Games’ illegal slot
21
     machines and who have been deceived into making in-game purchases of
22
23
     deceptively marketed coins in those Games.

24         6.    ZGG develops and publishes the Games, which are playable

25   on various platforms, including iPhone and Android devices.
26         7.    On information and belief, the Games are distributed by ZGG
27   pursuant to developer agreements with Apple Inc. (“Apple”) and Google,
28   LLC (“Google”).


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1          8.    On information and belief, Apple and Google are entities
2    headquartered in California.
3          9.    The Games can be downloaded for free from the Apple App
4    Store and Google Play store. The Games’ simulated slot machines are akin
5    to those found in real world casinos. The Games give new players an initial
6    balance of virtual items, including coins allowing access to gameplay.
7          10.   After consumers lose their initial allotment of coins, the Games
8    aggressively attempt to sell those consumers additional coins through
9
     multiple pop-up windows advertising misleading sales and discounts on the
10
     virtual coins. Without additional coins, consumers cannot play the Games’
11
     slot machines.
12
           11.   Freshly topped off with additional coins, consumers wager to
13
     win more coins in the Games’ slot machines. The coins won by consumers
14
     playing the Games’ slot machines are identical to the coins that are sold.
15
           12.   The Games’ coins are used to place bets in the Games’ slot
16
     machine to extend players’ ability to play those slot machines.
17
           13.   On information and belief, despite purporting to be free-to-play,
18
     Defendants reap massive profits by selling bundles of virtual coins in the
19
     Games. Just as with casino operators, mobile game developers rely on a
20
     small portion of their players to provide the majority of their profits.
21
           14.   In addition to the addictive nature of the slot machine games
22
23
     themselves, in order to induce users to make in-game purchases, in its

24   direct marketing to consumers (including representations made at the time

25   of purchase), the Games advertise sale deals for virtual coins that are false
26   and misleading. Many of these advertisements provide comparisons to
27   fictitious coin quantities and prices for coin bundles and misleadingly
28   communicated the limited duration of the advertised sales.


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1    The Games Are Illegal Gambling Under Various State Laws
2          15.   The Games violate the gambling laws of multiple states,
3    including Washington, California and Arkansas.
4          16.   Defendant has violated California’s gambling laws, including the
5    law prohibiting slot machines, lotteries and operating controlled games
6    without a license. In so doing, Defendants have illegally profited from
7    thousands of consumers.
8          17.   California Penal Code §330b prohibits slot machines.
9
     Subsection (a) states that “[i]is unlawful for any person to manufacture,
10
     repair, own, store, possess, sell, rent, lease, let on shares, lend or give
11
     away, transport, or expose for sale or lease…any slot machine or device,
12
     as defined in this section.” Cal. PEN §330b(a).
13
           18.   ZGG manufactures, repairs, owns, rents, leases or gives away
14
     the Games and their slot machines.
15
           19.   California Penal Code §330b(a) further provides that “[i]t is
16
     unlawful for any person to make or to permit the making of an agreement
17
     with another person regarding any slot machine or device, by which the
18
     user of the slot machine or device, as a result of the element of hazard or
19
     chance or other unpredictable outcome, may become entitled to receive
20
     money, credit, allowance, or other thing of value or additional chance or
21
     right to use the slot machine or device, or to receive any check, slug, token,
22
23
     or memorandum entitling the holder to receive money, credit, allowance, or

24   other thing of value.”

25         20.   On information and belief, ZGG made or permitted the making
26   of agreements with others regarding the Games, including with AC,
27   AppLovin Cyprus Limited, Apple, Google and players of the Games.
28


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1          21.   Users of the Games, as a result of the element of chance, may
2    become entitled to receive virtual coins, which are a credit, token,
3    allowance, other thing of value or an additional chance or right to use the
4    Games’ slot machines. Specifically, players of the Games’ slot machines
5    receive virtual coins that provide players with the additional chance or right
6    to continue playing slot machines in the Games. The virtual coins are also
7    credits, tokens and allowances. The virtual coins are also things of value.
8    The slot machines in the Games are games of chance.
9
           22.   California Penal Code 330b(d) provides: “For purposes of this
10
     section, ‘slot machine or device’ means a machine, apparatus, or device
11
     that is adapted, or may readily be converted, for use in a way that, as a
12
     result of the insertion of any piece of money or coin or other object, or by
13
     any other means, the machine or device is caused to operate or may be
14
     operated, and by reason of any element of hazard or chance or of other
15
     outcome of operation unpredictable by him or her, the user may receive or
16
     become entitled to receive any piece of money, credit, allowance, or thing
17
     of value, or additional chance or right to use the slot machine or device...”
18
           23.   The Games fall within the definition of slot machine or device
19
     under section 330b(d). The Games operating together with ZGG servers
20
     are a machine, apparatus or device. Further, user’s mobile devices are
21
     adapted by the Games to create a slot machine or device. Users play the
22
23
     Games and purchase virtual coins from the games through hardware

24   features of the mobile devices on which the Games operate.

25         24.   Users exchange real money for virtual coins in the Games.
26   Users do so by entering payment information, passcodes and passwords
27   through their mobile device hardware components. User’s payments for
28


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1    and receipt of virtual coins are processed, in part, by computers and
2    servers owned and operated by ZGG.
3          25.   The Games’ slot machines are games of chance in which the
4    user may receive or lose additional virtual coins. Virtual coins are a credit,
5    allowance, thing of value or an additional chance to use the slot machines
6    in the Games.
7          26.   The Ninth Circuit has found that virtual coins similar to those in
8    the Games constitute a thing of value under Washington’s gambling law:
9
     “The virtual chips, as alleged in the complaint, permit a user to play the
10
     casino games inside the virtual Big Fish Casino. They are a credit that
11
     allows a user to place another wager or re-spin a slot machine. Without
12
     virtual chips, a user is unable to play Big Fish Casino’s various games.
13
     Thus, if a user runs out of virtual chips and wants to continue playing Big
14
     Fish Casino, she must buy more chips to have the privilege of playing the
15
     game. Likewise, if a user wins chips, the user wins the privilege of playing
16
     Big Fish Casino without charge. In sum, these virtual chips extend the
17
     privilege of playing Big Fish Casino.” Kater v. Churchill Downs Inc., 886
18
     F.3d 784, 787 (9th Cir. 2018). The same is true for the Games here.
19
           27.   The Games also violate other provisions of California and
20
     Arkansas gambling laws, as detailed below.
21
     The Games Engage in False and Misleading Advertising
22
23
           28.   The Games present numerous false and misleading advertising

24   that are most acutely directed to new users of the Games to induce those

25   players into spending money within the Games early in their interaction with
26   the Games. On information and belief, by inducing new players into
27   spending money in the Games as early as possible in their interaction with
28   the Games, ZGG maximizes the amount of money those players spend


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1    within the Games.
2          29.   Some of these sale advertisements in the Games were
3    misleading by offering for sale a particular coin quantity for a listed price
4    with a comparison to a lower stricken coin quantity or a higher stricken
5    price for the offered coin quantity. Consumers reasonably understood the
6    stricken coin quantity or stricken dollar amount in these advertisements to
7    represent the ordinary or prevailing deal for coins formerly offered to users
8    of the Games. Instead, the stricken values presented to new users were
9
     fictitious in that they did not represent the ordinary or prevailing deal offered
10
     to other users of the Games. In so doing, the Games misled consumers
11
     into believing that the offered sales were providing an outsized value as
12
     compared to the ordinary or prevailing deal offered by the Games. This
13
     false belief was a material consideration for consumers to make in-game
14
     purchases and consumers reasonably relied on that belief in their purchase
15
     decision.
16
           30.   Other sale advertisements in the Games were false and
17
     misleading because they purported to be offers available for only a limited
18
     duration of time. These offers included a countdown timer that reasonable
19
     consumers understood to mean the deal would only be available for the
20
     specified amount of time (e.g., 4 hours). In truth, the sale would be offered
21
     repeatedly whenever a user logged into the game, exited the Games’ store,
22
23
     or needed more coins. Users, and in particular new users unfamiliar with

24   the Games’ scheme, were thereby misled into a false sense of urgency

25   regarding the availability of these sale offers, not knowing that they would
26   have countless such sales offers (or better ones) in the future. This false
27   sense of urgency was a material factor in players’ decisions to make in-
28   game purchases, particularly their early purchases.


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1          31.   For certain advertisements, the Games used both false value
2    comparisons and false indications of the sale’s limited duration.
3          32.   Once these players had spent money in the Games, they were
4    more likely to continue playing and spending in the Games, as they had
5    already sunk costs into the Games and felt invested. In this way, the
6    Games’ false advertising scheme was designed to trick new users and trap
7    them in the Games’ addictive casino gameplay.
8          33.   The Federal Trade Commission (“FTC”) describes various
9
     forms of false price comparison schemes as deceptive: “One of the most
10
     commonly used forms of bargain advertising is to offer a reduction from the
11
     advertiser’s own former price for an article. If the former price is the actual,
12
     bona fide price at which the article was offered to the public on a regular
13
     basis for a reasonably substantial period of time, it provides a legitimate
14
     basis for the advertising of a price comparison. Where the former price is
15
     genuine, the bargain being advertised is a true one. If, on the other hand,
16
     the former price being advertised is not bona fide but fictitious - for
17
     example, where an artificial, inflated price was established for the purpose
18
     of enabling the subsequent offer of a large reduction - the ‘bargain’ being
19
     advertised is a false one; the purchaser is not receiving the unusual value
20
     he expects.” 16 CFR §233.1(a). “The advertiser should be especially
21
     careful, however, in such a case, that the price is one at which the product
22
23
     was openly and actively offered for sale, for a reasonably substantial period

24   of time, in the recent, regular course of his business, honestly and in good

25   faith - and, of course, not for the purpose of establishing a fictitious higher
26   price on which a deceptive comparison might be based.” 16 CFR
27   §233.1(b). “Other illustrations of fictitious price comparisons could be given.
28   An advertiser might use a price at which he never offered the article at all;


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1     he might feature a price which was not used in the regular course of
2     business, or which was not used in the recent past but at some remote
3     period in the past, without making disclosure of that fact; he might use a
4     price that was not openly offered to the public, or that was not maintained
5     for a reasonable length of time, but was immediately reduced. 16 CFR
6     §233.1(d)
7           34.     California statutory and regulatory law also expressly forbids
8      false discounted pricing schemes: “No price shall be advertised as a
9
       former price of any advertised thing, unless the alleged former price was
10
       the prevailing market price as above defined within three months next
11
       immediately preceding the publication of the advertisement or unless the
12
       date when the alleged former price did prevail is clearly, exactly and
13
       conspicuously stated in the advertisement.” Cal. Bus. & Prof. Code
14
       §17501.
15
            35.     Since about May 2021, ZGG had control and knowledge over
16
      the pricing and advertisement of coins in the Games across their users and
17
      therefore knew, or should reasonably have known, that its comparative
18
      quantity and price advertising and statements regarding sale duration were
19
      false, deceptive, misleading, and unlawful.
20
            36.     ZGG fraudulently concealed from and intentionally failed to
21
      disclose to consumers the truth about its advertised discounts and
22
23
      purported limited time sales.

24          37.     Through this false and deceptive marketing, advertising, and

25    pricing scheme, ZGG has violated California law prohibiting the
26    advertisement of goods for sale as discounted from false former prices and
27    prohibiting misleading statements about the existence and amount of price
28    reductions.


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1                                      PARTIES
2          38.   Plaintiff Sara Ochoa is a citizen and resident of Los Angeles
3     County, California. She downloaded Jackpot Master on her iPhone from
4     the Apple App Store in Los Angeles County. She played Jackpot Master in
5     this County as a guest. She accessed the game’s virtual store and saw
6     Jackpot Master’s false advertising in this County. She was induced by this
7     false advertising into making an in-game purchase in this County from
8     Jackpot Master’s in-game store. She made a purchase from Jackpot
9
      Master through her Apple iPhone and Apple payment account.
10
           39.   Plaintiff Kimberly Brown is a citizen and resident of the State of
11
      Arkansas. She downloaded Cash Tornado on her iPhone from the Apple
12
      App Store. She played Cash Tornado and accessed the game’s virtual
13
      store and made purchases from that store through her Apple iPhone and
14
      Apple payment account.
15
           40.   On information and belief, Defendant Zeroo Gravity Games
16
      LLC is a limited liability company organized and existing under the laws of
17
      Delaware. On information and belief, ZGG’s principal place of business is
18
      located at 1100 Page Mill Road, Palo Alto, California 94304.
19
           41.   On information and belief, ZGG is a wholly owned subsidiary of
20
      AC. On information and belief, AppLovin Corporation is a Delaware
21
      corporation. On information and belief, AC’s principal place of business is
22
23
      1100 Page Mill Road, Palo Alto, California 94304.

24                           JURISDICTION AND VENUE

25         42.   This Court has jurisdiction over this action under the Class
26    Action Fairness Act of 2005. Pursuant to 28 U.S.C. §§1332(d)(2), this Court
27    has original jurisdiction because the aggregate claims of the putative class
28    members exceed $5 million, exclusive of interest and costs, and at least


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1     one of the members of the proposed classes is a citizen of a different state
2     than Defendants.
3           43.   This Court has personal jurisdiction over Defendant, because it
4     has its principal place of business in California, conducts substantial
5     business and directs its activities from and into California and this District,
6     including activities that form the basis for the claims here, and a substantial
7     part of the acts and omissions complained of occurred in this District.
8           44.   Plaintiffs further allege, upon information and belief, that the
9
      claims asserted in this complaint arise out of or are related to Defendant’s
10
      professional and commercial activities within California, and therefore
11
      Defendant is subject to the specific jurisdiction of the courts of this state.
12
      Specifically, ZGG publishes, advertises, distributes and profits from the
13
      Games and directs activities for these Games from California, through
14
      California entities and into California.
15
            45.   On information and belief, ZGG generates the majority of the
16
      Games’ revenue through the publishing, distribution and monetization of the
17
      Games through contractual relationships with California entities, including
18
      Apple and Google.
19
            46.   Further, ZGG advertises the Games through Facebook and
20
      Instagram accounts, platforms owned and operated by Meta Platforms Inc.,
21
      an entity headquartered in California.
22
23
            47.   Venue is proper in this court because at all relevant times Ochoa

24    resided in the County of Los Angeles, California and the claims asserted in

25    this complaint arise out of acts, transactions, and conduct that occurred in
26    whole or in part within the County of Los Angeles, California.
27                                               FACTS
28          48.   The proliferation of internet-connected mobile devices has led


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1     to the growth of what are known in the industry as “free-to-play”
2     videogames. The term is a misnomer. It refers to a model by which the
3     initial download of the game is free, but companies reap huge profits by
4     selling thousands of “in-app” items that start at $0.99 but can quickly
5     escalate to hundreds or even thousands of dollars.
6           49.   The in-app purchase model has become particularly attractive
7     to developers of games of chance (e.g., poker, blackjack, and slot machine
8     mobile videogames, amongst others), because it allows them to generate
9
      huge profits. In 2022, the global social casino games market reached $6.83
10
      billion and is projected to grow to $8.7 billion in 2026.1
11
            50.   Academics have also studied the socioeconomic effect games
12
      that rely on in-app purchases have on consumers. In one study, the
13
      authors compiled several sources analyzing casino games and stated that:
14
      “[Researchers] found that casino gamers share many similar
15
      sociodemographic characteristics (e.g., employment, education, income)
16
      with online gamblers. Given these similarities, it is perhaps not surprising
17
      that a strong predictor of online gambling is engagement in casino games.
18
      Putting a dark line under these findings, over half (58.3%) of disordered
19
      gamblers who were seeking treatment stated that social casino games
20
      were their first experiences with gambling…According to [another study],
21
22
      1
        Global Social Casino Games Market Report 2022-2026 Featuring
23
      Caesars Entertainment, Aristocrat Leisure, Zynga, Playtika, Scientific
24    Games Corp and DoubleU Games, Research and Markets (April 26, 2022),
25
      available at: https://www.globenewswire.com/en/news-
      release/2022/04/26/2428795/28124/en/Global-Social-Casino-Games-
26    Market-Report-2022-2026-Featuring-Caesars-Entertainment-Aristocrat-
27    Leisure-Zynga-Playtika-Scientific-Games-Corp-and-DoubleU-Games.html
      (last accessed February 6, 2023).
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1     the purchase of virtual credits or virtual items makes the activity of casino
2     gaming more similar to gambling. Thus, micro-transactions may be a
3     crucial predictor in the migration to online gambling, as these players have
4     now crossed a line by paying to engage in these activities. Although, only
5     1–5% of casino gamers make micro-transactions, those who purchase
6     virtual credits spend an average of $78. Despite the limited numbers of
7     social casino gamers purchasing virtual credits, revenues from micro-
8     transactions account for 60% of all casino gaming revenue. Thus, a
9
      significant amount of revenue is based on players’ desire to purchase
10
      virtual credits above and beyond what is provided to the player in seed
11
      credits.” Hyoun S. Kim, Michael J. A. Wohl, et al., Do Social Casino
12
      Gamers Migrate to Online Gambling? An Assessment of Migration Rate
13
      and Potential Predictors, Journal of gambling studies / co-sponsored by the
14
      National Council on Problem Gambling and Institute for the Study of
15
      Gambling and Commercial Gaming (Nov. 14, 2014), available at
16
      http://link.springer.com/content/pdf/10.1007%2Fs10899-014-9511-0.pdf
17
      (citations omitted).
18
            51.   Many of the players of these social casino games likely have
19
      psychological addictions to playing. See August 1, 2018 letter from
20
      Natasha Dow Schüll, Ph.D. to Washington State Gambling Commission
21
      (available at https://www.wsgc.wa.gov/sites/default/files/public/news/big-
22
23
      fish/Dr.%20Schull%20Comments.pdf).

24          52.   In response to the Ninth Circuit decision in Kater, several

25    “social casino” games adjusted their design to comply with gambling laws.
26    For example, Big Fish Casino allows players to continue spinning its slot
27    machines for free even when they have run out of virtual currency, without
28    requiring the viewing of ad or other prolonged interruptions. The class


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1     settlement in Kater required Big Fish Casino to “change game mechanics
2     for the Big Fish Casino and Jackpot Magic Slots Applications to ensure that
3     players who run out of sufficient virtual chips to continue to play the game
4     they are playing will be able to continue to play games within the
5     Application they are playing without needing to purchase additional virtual
6     chips or wait until they would have otherwise received free additional virtual
7     chips in the ordinary course.” The Games here have not made such efforts
8     to comply with gambling laws.
9
            53.   In support of its motion for sanctions, ZGG submitted the
10
      declaration of Zongsheng Li. Mr. Li represented to the Court that he was
11
      the “CEO of Zeroo Gravity Games LLC.” This was a false. In its initial
12
      disclosures, ZGG has since confirmed that Mr. Li is not the CEO of ZGG
13
      and is not even an employee of ZGG. ZGG continues to maintain that Mr.
14
      Li has knowledge of the operation of the Games since their launch.
15
            54.   Mr. Li stated in his declaration that “[t]he mechanics of these
16
      promotions [in the Games], including the presentation of strikethrough
17
      values and time-limited sales, are fixed by the underlying code for the apps
18
      and these mechanics do not vary from version to version of the games.”
19
            55.   Mr. Li further stated that “I have provided several screenshots
20
      of gameplay in this Declaration. In each case, the screenshot is from a
21
      current version of the game, but the depiction is also a true and accurate
22
23
      representation of how the game has always worked in all versions with

24    respect to the functioning of the promotional mechanics being described…

25    The specific graphical elements and the pricing baselines (or coin counts,
26    for example) of the promotions described here may vary from user-to-user
27    and over time depending on the version of the game and the other factors,
28    including users’ progression in the game—but in all cases these


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1     screenshots and the description I provide truly and accurately reflect how
2     these sales mechanics have always worked.”
3             56.   Mr. Li further stated that “since launching, the relevant in-game
4     promotions in Jackpot Master have always worked the same way.”
5             57.   Mr. Li further stated that “Cash Tornado offers users a different
6     gameplay experience Jackpot Master, the mechanics behind these
7     promotional offers function in the exact same way… And since launching,
8     the First Purchase Bonus Offer and Super Sale Offer have always
9
      functioned the same way in that game too.”
10
      Brief Overview of Jackpot Master
11
              58.   Jackpot Master is a mobile application casino-style game
12
      developed and distributed by ZGG. The game is available on iPhone and
13
      Android devices through the Apple App Store and Google Play platforms,
14
      respectively.
15
              59.   On information and belief, Jackpot Master was first released in
16
      the Google Play Store in July 2021 and in the Apple App Store in August
17
      2021.
18
              60.   On information and belief, since launching in July 2021 through
19
      November 2022, the relevant in-game promotions in Jackpot Master have
20
      always worked the same way.
21
              61.   Jackpot Master provides users with a variety of slot machines
22
23
      on their mobile device. Below is an example of one such slot machine in

24    Jackpot Master:

25    //
26    //
27    //
28    //


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10          62.   In order to play the slot machines in Jackpot Master, users
11    must bet virtual coins, as can be seen at the bottom left in the image above
12    where it says “TOTAL BET.” The slot machines in Jackpot Master require a
13    minimum bet, such that if a user’s coin balance is below that minimum, the
14    user cannot play the slot machine. For example, in the slot machine
15    depicted above, the minimum bet allowed is 120,000 coins. Other slot
16
      machine games in Jackpot Master may have other minimum bet
17
      requirements.
18
            63.   The slot machines in Jackpot Master have all the same
19
      trappings as real-world slot machines, including flashing graphics and
20
      sound effects. The slot machines in Jackpot Master are games of chance.
21
      The outcome of any given spin is random and not dependent on the user’s
22
      inputs or skills. Users can set the slot machines to “auto-spin” for up to 500
23
      consecutive spins to reduce or eliminate the need to interact with the game.
24
            64.   Users are encouraged by Jackpot Master to make as large a
25
      bet as possible through various user interfaces. For example, a “reward” a
26
      player obtains as he or she spends more time playing is an increase in the
27
      “MAX BET” he or she can make in the slot machines. Other interfaces
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1     communicate that the user will get more and better rewards if he or she
2     increases their bet.
3           65.   Users are allotted an amount of coins when they first download
4     and play the game. They may be awarded more coins through playing the
5     slot machine games or other games of chance in Jackpot Master. When a
6     user runs out of coins or attempts to spin a slot machine for a bet amount
7     exceeding their balance of virtual coins, they are presented with one or
8     more pop-up advertisements offering the sale of additional virtual coins in
9
      exchange for real world currency. While users may obtain additional coins
10
      by viewing advertisements (often for other mobile casino games) or waiting
11
      for a periodic reward of coins, in order to continue playing the slot
12
      machines without interruption for an extended period after they have lost
13
      their coins, users must purchase more coins.
14
            66.   The virtual coins purchased by a user for real world money is
15
      used to extend their ability to play the slot machines in Jackpot Master.
16
      These purchased virtual coins are identical to those bet in the slot
17
      machines and subject to the chance of winning or losing of those slot
18
      machines. Further, purchasing coins in lieu of viewing ads renders the
19
      coins a thing of value, as it allows users an uninterrupted period of playing.
20
      The value of avoiding ads may be measured by the money Defendants
21
      receive from ad views. Further, certain sale offers in Jackpot Master
22
23
      advertise the removal of ads, further indicating the value of purchased

24    coins.

25          67.   Jackpot Master also includes other games of chance, such as
26    “coin pusher games.”
27    //
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                                             18
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12         68.   Jackpot Master also includes functions and encourages users
13    to gamble among each other through social media connections and the
14    formation of gambling “teams” as show in the screen shot below:
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24         69.   Jackpot Master also includes mandatory features that place
25    users in competition among each other based largely on the amount they
26    gamble, such as “league” gambling competitions. All users are placed in
27    these gambling competitions without an option to out-out. Below is screen
28


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1     shot of a league board in Jackpot Master:
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            70.   Jackpot Master also includes a “lotto” game:
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24          71.   Certain slot machines in Jackpot Master also include
25    progressive jackpots, indicating that the amount of virtual coins potentially
26    won by the user is a function of the wagers made by them and other
27    players. This can be seen in the screenshot below, where the “Grand,”
28


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1     “Major,” “Minor” and “Mini” jackpot values increment upwards as users
2     wager their coins in the slot machine.
3
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9
      Ms. Ochoa’s Use of Jackpot Master
10
           72.   Ms. Ochoa found Jackpot Master in the Apple App Store. In the
11
      absence of any disclaimers or warnings to the contrary, she reasonably
12
      believed Jackpot Master complied with the law. Had Ms. Ochoa known that
13
      Jackpot Master was engaged in illegal gambling, she would not have
14
15
      downloaded and began playing it.

16         73.   On or about March 2022 she was presented with an

17    advertisement in Jackpot Master for a “Super Sale” that had a presentation

18    the same or substantially similar to the image below:
19
20
21
22
23
24
25
26
           74.   The Super Sale ad included a 4-hour countdown timer. Ms.
27
      Ochoa reasonably understood this advertisement to communicate that the
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1     offered sale would be available for only 4 hours and that if she did not take
2     advantage of that offer within those 4 hours, the same sale would not be
3     available again soon.
4           75.   The Super Sale ad included the phrase the same or
5     substantially similar to: “WAS $49.99 NOW FOR $1.99.” Ms. Ochoa
6     reasonably understood this to communicate that the ordinary, normal and
7     prevailing price formerly offered by Defendant to users of Jackpot Master
8     for 60 million coins was $49.99.
9
            76.   At the same time, Jackpot Master’s in-game store was
10
      displaying to Ms. Ochoa a sale offer labeled “Double Bonus for 1st
11
      Purchase!” having a presentation the same or substantially similar to the
12
      image below:
13
14
15
16
17
18
19
20
            77.   The “Double Bonus for 1st Purchase” advertisement above
21
22
      depicts a sale offer at $49.99 for 120 million coins with 60 million coins

23
      stricken below. Ms. Ochoa reasonably understood from the Double Bonus

24    for 1st Purchase ad together with the Super Sale ad, that the ordinary,

25    normal and prevailing price formerly offered by Jackpot Master for 60
26    million coins was $49.99.
27          78.   To the best of her recollection, Ms. Ochoa purchased a coin
28    pack from Jackpot Master for $1.99 on or around March 26, 2022 through a


                                             22
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1     Super Sale ad the same or substantially similar to that depicted above in
2     paragraph 58. A copy of Ms. Ochoa’s receipt for this purchase is attached
3     as Exhibit A.
4           79.   Ms. Ochoa’s reasonable understanding that the Super Sale
5     would expire within 4 hours and not be offered again soon, and her
6     reasonable understanding that coin quantity she was receiving for $1.99
7     represented a value far better than the $49.99 price Jackpot Master
8     normally offered its users were material factors in her decision to make her
9
      in-game purchase.
10
            80.   Had Ms. Ochoa known that the ordinary price for that same (or
11
      larger) coin pack in Jackpot Master was routinely offered at a price much
12
      less than $49.99 and that other players of Jackpot Master were being
13
      offered far better deals, she would not have made her purchase.
14
            81.   Had Ms. Ochoa known that there was no true urgency for
15
      taking advantage of the advertised “Super Sale,” she would not have made
16
      her purchase.
17
            82.   Ms. Ochoa continued to play Jackpot Master and its games of
18
      chance until she lost all her coins, at which time she was again prompted to
19
      purchase more coins purportedly on sale.
20
            83.   Months after making her March 2022 purchase, Ms. Ochoa was
21
      again presented with a “Double Bonus for 1st Purchase!” advertisement in
22
23
      Jackpot Master as depicted below:

24    //

25    //
26    //
27    //
28    //


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8     Jackpot Master’s Advertisements Are False and Misleading
9           84.   On information and belief based on counsel’s investigation,
10    contrary to Ms. Ochoa’s reasonable understanding of Jackpot Master’s
11    advertisements, Super Sales of the same or better value in Jackpot Master
12    are made available repeatedly and frequently beyond the indicated 4-hour
13    countdown timer.
14          85.   On information and belief based on counsel’s investigation,
15    contrary to Ms. Ochoa’s reasonable understanding of Jackpot Master’s
16
      advertisements, Super Sales of the same or better value in Jackpot Master
17
      are unavailable for only trivial periods of time.
18
            86.   On information and belief based on counsel’s investigation, the
19
      Super Sales in Jackpot Master are presented over and over with new reset
20
      timers for weeks or longer, including whenever a user logs into the game,
21
      exits the game’s store or needs more coins to place a bet and extend game
22
      play. The series of screen shots below were taken from Jackpot Master
23
      from the same device between September 19, 2022 at 11:19 AM PST and
24
      October 30, 2022 with the date and time stamp (in Pacific time) for each
25
      screen shot shown at the top. These screen shots show the same Super
26
      Sale offer in Jackpot Master being presented repeatedly over the course of
27
      weeks and well beyond the 4-hour time limit indicated:
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10          87.   On information and belief based on counsel’s investigation, the
11    operation of the Super Sale offers depicted in the screenshots above was
12    the same or substantially similar at the time of Ms. Ochoa’s purchase. This
13    is confirmed by Mr. Li’s declaration.
14          88.   On information and belief and based on counsel’s investigation,
15    contrary to Ms. Ochoa’s reasonable understanding of Jackpot Master’s
16    advertisements, the ordinary, prevailing or standard price for the coin
17    quantity offered to Ms. Ochoa (e.g., 60 million coins) normally offered by
18    Jackpot Master to its users was not truly $49.99. In reality, Jackpot Master
19    regularly offered coin packs to Jackpot Master users at significantly better
20    values than presented in the first Super Sale shown to Ms. Ochoa.
21          89.   For example, the screenshot below shows a First Purchase
22    Bonus offer made to a different user of Jackpot Master on November 12,
23    2022 at 9:33p PST:
24
      //
25
      //
26
      //
27
      //
28


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8           90.   In the image above, the user is being offered 240 million coins
9
      for $49.99, with 120 million coins stricken below as the purported “ordinary”
10
      deal. Comparing that to the Super Sale offer shown in paragraph 58, which
11
      communicated that $49.99 was the prevailing price for 60 million coins
12
      demonstrates that the reference prices and coin quantities shown in
13
      paragraphs 58 and 61 were fictitious.
14
            91.   The screenshot below shows offers being made on November
15
      12, 2022 at 9:33p PST (the same time as the image in paragraph 72) to
16
      another user who had been playing for several months without making a
17
      purchase:
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25          92.   As can be seen, the coin values being offered to the latter user
26    are significantly higher than those represented to the user in paragraph 72
27    as the “ordinary” value. The user in paragraph 74 is being offered 5.4 billion
28


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1     coins for $49.99 (with 1.8 billion stricken as the purported “ordinary” value)
2     compared to the user in paragraph 72 being offered 240 million coins for
3     $49.99 (with 120 million coins stricken as the purported “ordinary” value).
4           93.   As another example, below is a screen shot of a Super Sale
5     offer to yet another user:
6
7
8
9
10
            94.   This user is also being offered 1.8 billion coins for $1.99 and
11
      being told the ordinary price for that coin quantity is $49.99, demonstrating
12
      that the presentation shown in paragraph 58 communicating that $49.99
13
      ordinarily buys you only 60 million coins is false and misleading.
14
15
            95.   On information and belief, the initial presentation of the stricken

16    values in the “Super Sale” and “Double Bonus for 1st Purchase!”

17    advertisements presented to the new user of Jackpot Master are false,

18    because other users of Jackpot Master were being presented with
19    prevailing offers that were significantly better values at the same time and
20    in the 90 days preceding the presentation to the new user.
21          96.   On information and belief, the stricken values in the “Super
22    Sale” and “Double Bonus for 1st Purchase!” advertisements presented to
23    the new user of Jackpot Master are false, because they do not truthfully
24    represent the “ordinary” or “normal” deal formerly offered by Jackpot
25    Master for coin packs, but rather they are fictitious values presented by
26    Jackpot Master to induce users into making purchases as early as possible
27    upon first playing Jackpot Master and at lower values.
28


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1           97.   Accordingly, Jackpot Master’s advertisements of these coin
2     bundles that were purportedly on sale were false, deceptive and intended
3     to mislead players into making in-app purchases that they otherwise would
4     not have made. ZGG falsely promoted these bundles as being on sale or
5     discounted by misrepresenting that such bundles normally offer
6     substantially less value than the advertised deal.
7           98.   The advertising, pricing and quantity of coins in Jackpot Master
8     is within ZGG’s knowledge and control.
9
            99.   ZGG had actual knowledge that the false strikethrough ads and
10
      false limited time sales contained false or misleading misrepresentations as
11
      to their prior values and as to their duration. ZGG designed and promoted
12
      these advertisements while having actual knowledge that these quantitative
13
      representations of sale values were false.
14
            100. ZGG promoted these advertisements to create a false sense of
15
      urgency in its players to induce those players into purchasing the gold
16
      bundles. ZGG did so while knowing that the bundles contained quantitative
17
      misrepresentations with respect to the comparative value of the gold
18
      displayed and with respect to the duration of the availability of those deals.
19
            101. The amount of gold included in a bundle, and whether the
20
      bundle being offered for sale represents a good value and outsized amount
21
      of gold a player is receiving for his or her purchase with the corresponding
22
23
      bundle, is a material consideration when a player decides whether to

24    purchase a bundle.

25          102. Similarly, the urgency and duration of a purported sale for in-
26    game items is material to a consumer’s purchase decision.
27          103. These pricing and advertising practices reflecting high-pressure
28    fake sales are patently deceptive. They are intended to mislead customers


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1     into believing that they are getting a bargain by buying virtual coins on sale
2     and at a substantial and deep discount.
3     Brief Overview of Cash Tornado
4           104. Cash Tornado is a mobile application casino-style game
5     developed and distributed by ZGG. The game is available on iPhone and
6     Android devices through the Apple App Store and Google Play platforms,
7     respectively.
8           105. On information and belief, Cash Tornado was first released in
9
      the Google Play Store in May 2019, and in the Apple App Store in March
10
      2020. On information and belief, since launching through November 2022,
11
      the promotional offers in Cash Tornado have functioned the same way.
12
            106. Cash Tornado provides users with a variety of slot machines on
13
      their mobile device. Below is an example of one such slot machine in Cash
14
      Tornado:
15
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19
20
            107. In order to play the slot machines in Cash Tornado, users must
21
      bet virtual coins. The slot machines in Cash Tornado require a minimum
22
      bet, such that if a user’s coin balance is below that minimum, the user
23
      cannot play the slot machine. For example, in the slot machine depicted
24
      above, the minimum bet allowed is 90,000 coins. Other slot machine
25
      games in Jackpot Master may have other minimum bet requirements.
26
            108. The slot machines in Cash Tornado have all the same
27
      trappings as real-world slot machines, including flashing graphics and
28


                                            31
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1     sound effects. The slot machines in Cash Tornado are games of chance.
2     The outcome of any given spin is randomized and not dependent on the
3     user’s inputs or skills. Users can set the slot machines to “auto-spin” for up
4     to 500 consecutive spins to reduce or eliminate the need to interact with the
5     game.
6           109. Users are encouraged by Cash Tornado to make as large a bet
7     as possible through various user interfaces. For example, a “reward” a
8     player obtains as he or she spends more time playing is an increase in the
9
      “MAX BET” he or she can make on a given spin. Other interfaces
10
      communicate that the user will get more and better rewards if he or she
11
      increases their bet.
12
            110. Users are allotted an amount of coins when they first download
13
      and play the game. They may be awarded more coins through playing the
14
      slot machine games or other games of chance in Cash Tornado and
15
      through periodic promotions. When a user runs out of coins or attempts to
16
      spin a slot machine for a bet amount exceeding their balance of virtual
17
      coins, they are presented with a pop-up advertisement offering the sale of
18
      additional virtual coins in exchange for real world currency.
19
            111. On information and belief, unlike Jackpot Master, users of Cash
20
      Tornado are not given the option to view advertisements to obtain virtual
21
      coins when they run out of coins. At times, the only option available to
22
23
      players of Cash Tornado to extend their play of the slot machines is by

24    purchasing more virtual coins using real world money. Users can be barred

25    from playing Cash Tornado’s slot machines for hours or longer if they do
26    not purchase more virtual coins.
27          112. The virtual coins purchased by a user for real world money are
28    used to extend their ability to play the slot machines in Cash Tornado.


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1     These purchased virtual coins are identical to those bet in the slot
2     machines and subject to the chance of winning or losing of those slot
3     machines.
4           113. Cash Tornado has functions and encourages users to gamble
5     among each other through social media connections and creation of
6     gambling “teams” as shown in the screen shot below:
7
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11
12          114. Cash Tornado also includes other games of chance, including a
13    “lottery” as depicted in the below screenshots:
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15
            115. The “Grand Prize” in the Cash Tornado lottery game
16
      increments upwards rapidly, indicating that its value is a function of users’
17
      participation in the lottery. The Grand Prize in the Cash Tornado lottery
18
      game is awarded to a user among Cash Tornado’s users. Cash Tornado
19
      users are entered into the lottery automatically.
20
            116. In response to the question “What’s the expected value of the
21
      Grand Prize[?],” the Cash Tornado lottery information tab states that the
22
23
      “[c]oin values of all prizes are converted at the exchange rate against US

24    dollars in the Coin Store.”:

25    //
26    //
27    //
28    //


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9           117. Certain slot machines in Cash Tornado also include

10    progressive jackpots, indicating that the amount of virtual coins potentially
11    won by the user is a function of the wagers made by them and other
12    players. This can be seen in the screenshots below, where the jackpot
13    values increment upwards as users wager their coins in the slot machine
14    and the game states “HIGHER BET HIGHER CHANGE TO WIN”:
15
16
17
18
19
20
21
22
23
24
            118. Cash Tornado also includes other games of chance, including
25
      scratch off games:
26
27    //
28    //


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9
      Ms. Brown’s Use of Cash Tornado
10
            119. Ms. Brown found Cash Tornado in the Apple App Store. In the
11
      absence of any disclaimers or warnings to the contrary, she reasonably
12
      believed Cash Tornado complied with the law. Had Ms. Brown known that
13
      Cash Tornado was engaged in illegal gambling, she would not have
14
15
      downloaded and began playing it.

16          120. Upon beginning to play Cash Tornado, Ms. Brown was

17    presented with an advertisement for a “Super Sale” offer for virtual coins in

18    Cash Tornado. On information and belief, Ms. Brown was presented with a
19    Super Sale in Cash Tornado substantially similar to the one below in or
20    about June 2021:
21
22
23
24
25
26
27          121. Similar to Jackpot Master, Super Sale promotions in Cash
28    Tornado include a 4-hour countdown timer. Ms. Brown reasonably


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1     understood the Super Sale offer to communicate that the offered sale
2     would be available for only 4 hours and that if she did not take advantage
3     of that offer within those 4 hours, the same sale would not be available
4     again soon.
5          122. The Super Sale also included the phrase the same or similar to
6     "GET IT NOW FOR $99.99" in advertising the sale for coins alongside the
7     lower offered price. Ms. Brown reasonably understood this to communicate
8     that the ordinary, normal and prevailing price formerly offered by Cash
9
      Tornado for the listed coin amount was $99.99 and that the Super Sale was
10
      presenting a unique and outsized value of limited duration, thereby
11
      requiring urgent action on her part to take advantage of the deal.
12
           123. Ms. Brown made a purchase from Cash Tornado via a Super
13
      Sale pop-up for $1.99 on or around June 5, 2021.
14
           124. Ms. Brown’s reasonable understanding that the Super Sale she
15
      was presented would expire within 4 hours and not be offered again soon,
16
      and her reasonable understanding that she was receiving a sale price far
17
      better than the $99.99 price Cash Tornado normally offered its users for the
18
      same quantity of coins were material factors in her decision to make her in-
19
      game purchase.
20
           125. Had Ms. Brown known that the Super Sale she was offered in
21
      Cash Tornado would be presented frequently and repeatedly and that the
22
23
      stricken price presented was fictitiously high as compared the prevailing

24    offer Cash Tornado was making to other users, she would not have made

25    her initial purchase in Cash Tornado.
26         126. Ms. Brown continued to play Cash Tornado and its various
27    games of chance until she lost all her virtual coins and made additional
28    purchases of virtual coins from Cash Tornado to be able to continue


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1     playing. A copy of receipts of Ms. Brown’s purchases from Cash Tornado
2     from June 2021 are attached hereto as Exhibit B.
3     Cash Tornado’s Sale Advertisements Are False and Misleading
4           127. On information and belief and based on counsel’s investigation,
5     contrary to Ms. Brown’s reasonable understanding of Cash Tornado’s
6     advertisements, Super Sales of the same or better value in Cash Tornado
7     are made available repeatedly and frequently beyond the indicated 4-hour
8     countdown timer, including whenever a user logs in, exits the game’s store
9
      or runs out of coins.
10
            128. On information and belief and based on counsel’s investigation,
11
      the Super Sale offers in Cash Tornado are presented over and over with
12
      new timers for weeks or longer. The series of screen shots below were
13
      taken from Cash Tornado with the date and time stamp (in Pacific time) for
14
      each screen shot shown at the top. These screen shots show the same
15
      Super Sale offer in Cash Tornado being presented repeatedly over the
16
      course of weeks and well beyond the 4-hour time limit indicated, similar to
17
      Jackpot Master:
18
19
20
21
22
23
24
25
26
27
28          129. On information and belief and based on counsel’s investigation,


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1     contrary to Ms. Brown's reasonable understanding of Cash Tornado's
2     advertisements at the time of her first purchase, Super Sales of the same
3     or better value in Cash Tornado would be made available repeatedly and
4     frequently beyond the indicated 4-hour countdown timer.
5           130. On information and belief and based on counsel’s investigation,
6     Super Sale offers in Cash Tornado are presented over and over with new
7     timers for weeks or longer. In this way, the 4-hour timer presented with the
8     Super Sale offers misleadingly induced Ms. Brown and other consumers to
9
      believe that the availability of such Super Sales in Cash Tornado were of
10
      more limited duration than in reality.
11
            131. On information and belief and based on counsel’s investigation,
12
      $99.99 was not the ordinary, prevailing or standard offer for the coin pack
13
      offered to Ms. Brown in the initial Super Sale she was presented. On
14
      information and belief, the stricken dollar amounts in the Super Sale
15
      presentations in Cash Tornado are fictitiously inflated when presented to
16
      new users.
17
            132. As shown in the screen shot from Cash Tornado below, other
18
      users receive offers for coins in Cash Tornado far exceeding the purported
19
      ordinary, normal or prevailing offer for coins communicated to the ads in
20
      paragraphs 97 and 105:
21
      //
22
23
      //

24    //

25    //
26    //
27    //
28    //


                                               39
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1
2
3
4
5
6
7
8
9
10         133. This user is being offered a Super Sale for 1.8 billion coins for
11    99 cents with a purported normal price of $99.99 - greater than ten times
12    more coins that the ads in paragraphs 97 and 105 are saying is the normal,
13    prevailing and ordinary former price for $99.99 in Cash Tornado.
14         134. Accordingly, Cash Tornado’s advertisements of these coin
15    bundles that were purportedly on sale were false, deceptive and intended
16    to mislead players into making in-app purchases that they otherwise would
17    not have made. ZGG falsely promoted these bundles as being on sale or
18    discounted by misrepresenting that such bundles normally offer
19    substantially less value than the advertised deal.
20         135. On information and belief and based on counsel’s investigation,
21    the operation of the Super Sale offers was the same or substantially similar
22    at the time of Ms. Brown’s purchase. This is confirmed by Mr. Li’s
23    declaration.
24
           136. The advertising, pricing and quantity of coins in Cash Tornado
25
      is within ZGG’s knowledge and control. ZGG had actual knowledge that the
26
      false strikethrough ads and false limited time sales contained false or
27
      misleading misrepresentations as to their prior values and as to their
28


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1     duration. ZGG designed and promoted these advertisements while having
2     actual knowledge that these quantitative representations of sale values
3     were false.
4           137. ZGG promoted these advertisements to create a false sense of
5     urgency in its players thereby inducing those players into purchasing the
6     gold bundles. ZGG did so while knowing that the bundles contained
7     quantitative misrepresentations with respect to the comparative value of the
8     gold displayed and with respect to the duration of the availability of those
9
      deals.
10
            138. The amount of gold included in a bundle, and whether the
11
      bundle being offered for sale represents a good value and outsized amount
12
      of gold a player is receiving for his or her purchase with the corresponding
13
      bundle, is a material consideration when a player decides whether to
14
      purchase a bundle.
15
            139. Similarly, the urgency and duration of a purported sale for in-
16
      game items is material to a consumer’s purchase decision.
17
            140. These pricing and advertising practices reflecting high-pressure
18
      fake sales are patently deceptive. They are intended to mislead customers
19
      into believing that they are getting a bargain by buying virtual coins on sale
20
      and at a substantial and deep discount.
21
      The Games Violate California Gambling Laws
22
23
            141. The Games violate various California gambling laws, including

24    California Penal Code §330b, which prohibits slot machines.

25          142. California courts have observed that the plain text of this statute
26    sets forth three key elements: payment, chance, and prize. See People ex
27    rel. Green v. Grewal, 61 Cal.4th 544, 564, 189 Cal.Rptr.3d 686, 699, 352
28    P.3d 275, 286 (2015) (quoting Trinkle v. Stroh, 60 Cal.App.4th 771, 782, 70


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1     Cal.Rptr.2d 661, 667 (1997). First, the machine or device must be activated
2     by “the insertion of money or [some] other object.” Trinkle v. Cal. State
3     Lottery, 105 Cal.App.4th 1401, 1410, 129 Cal.Rptr.2d 904, 910 (2003).
4     Second, “the operation of the machine [must be] unpredictable and
5     governed by chance.” Id. Third, “by reason of the chance operation of the
6     machine, the user may become entitled to receive a thing of value.” Id.
7           143. Virtual currency in a mobile game, purchased with real money,
8     has been found to be the insertion of money or some other object under
9
      §330b. Soto v. Sky Union, LLC, 159 F.Supp.3d 871, 878-89 (N.D. Ill. 2016)
10
      (“the plain language of section 330b(d)…provides that in addition to
11
      machines or devices that require the insertion of money or coins, the term
12
      ‘slot machine or device’ includes devices that may be operated ‘by any
13
      other means.’ Cal. Penal Code § 330b(d)…it would make little sense to
14
      read the broad language of section 330b(d) to capture games operated by
15
      insertion of purchased physical tokens while excluding games operated by
16
      insertion of purchased virtual gems…it does not matter that gems are
17
      imaginary currency.”).
18
            144. ZGG manufactures, repairs, owns, rents, leases or gives away
19
      the slot machines in the Games. ZGG develops the software for the
20
      Games. ZGG provides updates to the Games’ software to fix bugs and
21
      otherwise update the Games’ slot machines. ZGG offers and distributes the
22
23
      Games for free through iOS and Android mobile storefronts. ZGG owns the

24    Games. ZGG provides the software for the Games to Apple and Google for

25    players to download on their mobile devices.
26          145. On information and belief, ZGG makes agreements with other
27    people regarding the Games, including AC, AppLovin Cyprus Ltd., Apple,
28    Google and players of the Games, by which users of the Games’ slot


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1     machines, as a result of the element of hazard or chance or other
2     unpredictable outcome, may become entitled to receive credit, allowance,
3     or other thing of value or additional chance or right to use the Games’ slot
4     machines.
5           146. On information and belief, ZGG enters into agreements with
6     Apple and Google to distribute the Games and process payments by
7     players of the Games for the purchase of virtual coins in the Games in
8     exchange for real money.
9
            147. On information and belief, ZGG enters into agreements with
10
      players of the Games for the sale of virtual coins in the Games in exchange
11
      for real money.
12
            148. The outcomes of the slot machines in the Games are the result
13
      of the element of chance. Depending on the outcome of a slot machine
14
      spin in the Games, a user may receive or lose virtual coins. That outcome
15
      is random and not determined by the player’s skill.
16
            149. Virtual coins in the Games are a credit, token, allowance, other
17
      thing of value or an additional chance or right to use the slot machines in
18
      the Games.
19
            150. On information and belief, the Games are not located upon or
20
      are being transported by a vessel regularly operated and engaged in
21
      interstate or foreign commerce.
22
23
            151. On information and belief, Defendants do not conduct their

24    business activities with respect to the Games in accordance with the terms

25    of a license issued by a tribal gaming agency pursuant to the tribal-state
26    gaming compacts entered into in accordance with the Indian Gaming
27    Regulatory Act (18 U.S.C. Sec. 1166 to 1168, inclusive, and 25 U.S.C. Sec.
28    2701 et seq.).


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1          152. Each Game is an apparatus under §330b. Alternatively, the
2     Game operating in connection to servers owned or controlled by ZGG is an
3     apparatus under §330b. Alternatively, mobile devices operating the Games
4     are a machine, device or apparatus under §330b. Alternatively, mobile
5     devices operating the Games together with servers are together a machine,
6     device or apparatus under §330b.
7          153. The software for the Games modifies mobile phones devices,
8     such as iPhones and Android devices, into slot machines as defined by the
9
      California Penal Code.
10
           154. The Games’ software operating on a mobile device, such as an
11
      iPhone or Android smartphone, is a machine, device or apparatus.
12
           155. In order to download the Games onto their mobile devices,
13
      users must interact with the hardware features of their mobile devices,
14
      including using the touch screen and hard buttons to enter account
15
      information, password pin code and other button sequences required to
16
      confirm and execute the download.
17
           156. Further, in order to make purchases within the Games, users
18
      must interact with the hardware elements of their phones, including the
19
      touchscreen and hard buttons. Users must enter payment information into
20
      their mobile devices using hardware features, including a keyboard. Users
21
      must also enter a password or pin code, press buttons and provide other
22
23
      identifying information through their phone’s hardware elements, such as

24    the keyboard, camera or fingerprint reader, in order to purchase virtual

25    coins from the Games.
26         157. The Games are downloaded onto users’ devices through
27    servers owned, operated and/or controlled by ZGG. These servers have
28    hardware components. When a user plays the Games through their mobile


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1     device, servers owned, operated and/or controlled by ZGG communicate
2     with the user’s mobile device. That communication between the servers
3     owned, operated and/or controlled by ZGG and a user’s mobile device
4     takes place through hardware, including routers, switches, cables, and cell
5     phone towers. Communication with the servers owned, operated or
6     controlled by ZGG is required in order to provide users with the slot
7     machines in the Games, update and repair the slot machines in the
8     Games, complete purchases of virtual coins used to play the slot machines
9
      in the Games and to record players’ balance of virtual coins needed to play
10
      the slot machines in the Games.
11
            158. Users operate the Games through the hardware features of
12
      their mobile device, including the touch screen.
13
            159. The Games adapt mobile phones into a device for use in a way
14
      that, as a result of the payment of money for virtual coins, the device is
15
      caused to be operated by reason of an element of chance in which the user
16
      may receive or become entitled to receive a thing of value or additional
17
      chance or right to use the Games.
18
            160. California Penal Code §319 provides: “A lottery is any scheme
19
      for the disposal or distribution of property by chance, among persons who
20
      have paid or promised to pay any valuable consideration for the chance of
21
      obtaining such property or a portion of it, or for any share or any interest in
22
23
      such property, upon any agreement, understanding, or expectation that it is

24    to be distributed or disposed of by lot or chance, whether called a lottery,

25    raffle, or gift enterprise, or by whatever name the same may be known.”
26    The Games are illegal lotteries as defined by California Penal Code 319.
27    Cal. Penal Code §§319, 322, 323, 326.
28


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1           161. The Games are a scheme for the disposal or distribution of
2     property by chance among persons who have paid valuable consideration
3     for the chance of obtaining such property. Specifically, players of the
4     Games spend money to buy virtual coins. The Games dispose of those
5     virtual coins by chance.
6           162. The virtual coins in the Games are “property” under §319.
7     Section 7 of the Penal Code provides that “the word ‘property’ includes
8     both real and personal property” and “the words ‘personal property’ include
9
      money, goods, chattels, things in action, and evidences of debt.” These
10
      definitions are not exclusive of anything else properly coming within the
11
      terms defined. “A thing in action is a right to recover money or other
12
      personal property by a judicial proceeding.” Civil Code, §953. “Property” is
13
      further defined in the Civil Code as a “thing of which there may be
14
      ownership.” Civil Code, §654. There may be ownership, among other
15
      things, “of all obligations.” Civil Code, §655. “An obligation is a legal duty by
16
      which a person is bound to do or not to do a certain thing.” Civ. Code
17
      §1427. An obligation may arise from contract. Civ. Code §1428.
18
            163. ZGG’s duty as the operator of the Games is to permit users to
19
      play further games in exchange for virtual coins. This is an obligation
20
      arising from contract and the right of the player in the matter is personal
21
      property and a thing in action. Cal. Civ. Code §663, §953.
22
23
            164. The May 2020 terms of service for Jackpot Master stated that

24    “you may be provided an opportunity to purchase a limited license to Virtual

25    Goods and Game Currency using real-world money at prices established
26    by the Company in its sole discretion…” Ex. C. at 4. The May 2020 terms of
27    service for Jackpot Master further stated that “Game Currency are virtual
28    tokens that we license and each virtual token represents contractual


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1     permission from Company to access certain features of the Platform.” Ex.
2     C at 4. Virtual coins in the Games, therefore, are property within the
3     meaning of California Penal Code §319.
4           165. On information and belief, ZGG receives money, directly or
5     indirectly, from the Games.
6           166. The Ninth Circuit has found that virtual coins used to play
7     mobile casino games similar to those in the Games constitute a thing of
8     value under Washington’s gambling law. Kater v. Churchill Downs Inc., 886
9
      F.3d 784, 787 (9th Cir. 2018). California courts have held that a reward of
10
      extended play by a video game for winning is a thing of value within the
11
      meaning of the Penal Code definition. See Merandette v. City & Cty. of San
12
      Francisco, 88 Cal.App.3d 105, 114, 151 Cal.Rptr. 580, 586 (1979).
13
            167. To the extent Games operating on mobile devices and in
14
      connection to servers are not illegal slot machines and do not include an
15
      illegal lottery, the Games violate California Penal Code §337j as unlicensed
16
      controlled games. California Penal Code § 337j(a) provides:
17
                  (a) It is unlawful for any person, as owner, lessee,
18
                  or employee, whether for hire or not, either solely or
19
                  in conjunction with others, to do any of the following
20
                  without having first procured and thereafter
21
                  maintained in effect all federal, state, and local
22
23
                  licenses required by law:

24                (1) To deal, operate, carry on, conduct, maintain, or

25                expose for play in this state any controlled game.
26                (2) To receive, directly or indirectly, any
27                compensation or reward or any percentage or share
28


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1                 of the revenue, for keeping, running, or carrying on
2                 any controlled game.
3                 (3) To manufacture, distribute, or repair any
4                 gambling equipment within the boundaries of this
5                 state, or to receive, directly or indirectly, any
6                 compensation or reward for the manufacture,
7                 distribution, or repair of any gambling equipment
8                 within the boundaries of this state.
9
            168. On information and belief, ZGG has not procured and thereafter
10
      maintained in effect all federal, state, and local licenses required by law to
11
      operate a controlled game.
12
            169. ZGG operates, carries on, conducts, maintains and exposes for
13
      play in California a controlled game through the Games. ZGG receives,
14
      directly or indirectly, compensation or reward of the revenue for keeping,
15
      running and carrying on the Games. ZGG manufactures, distributes and
16
      repairs the Games within the boundaries of California.
17
            170. California Penal Code §337j(e)(1) states that “[a]s used in this
18
      section, ‘controlled game’ means any poker or Pai Gow game, and any
19
      other game played with cards or tiles, or both, and approved by the
20
      Department of Justice, and any game of chance, including any
21
      gambling device, played for currency, check, credit, or any other thing
22
23
      of value that is not prohibited and made unlawful by statute or local

24    ordinance.” Id. (emphasis added).

25          171. To the extent the Games operating on mobile devices are not
26    illegal under California’s Penal Code (including §330b and §319), the
27    Games are a controlled game under §337j(e)(1), because they are a game
28


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1     of chance played for credit or a thing of value not prohibited and made
2     unlawful by statute of local ordinance.
3           172. The virtual coins in the Games are a credit to continue playing
4     the Games’ slot machines. The virtual coins in the Games are also a thing
5     of value as held in Kater.
6           173. Certain courts have found that in-game purchases in free-to-
7     play mobile games that sell “loot boxes” are not things of value under
8     California law, because the loot boxes and the virtual items they contain
9
      merely enhance gameplay and have no value outside of the game itself.
10
      See, e.g. Soto v. Sky Union, LLC, 159 F.Supp.3d 871 (N.D.Ill. 2016); Mai v.
11
      Supercell OY, Case No. 20-cv-05573-EJD, Doc. 62 (N.D.Cal. Jan. 3,
12
      2023); Coffee v. Google LLC, No. 20-cv-03901, 2022 WL 94986, at *9
13
      (N.D. Cal. Jan. 10, 2022); Taylor v. Apple, Inc., No. 20-cv-03906-RS, 2022
14
      WL 35601, at *2 (N.D. Cal. Jan. 4, 2022). In these cases, the courts found
15
      the virtual items in the loot boxes were not things of value, because they
16
      were not used to extend gameplay, but rather were mere enhancements to
17
      games, where the games themselves were truly free to play.
18
            174. The virtual coins at issue here in the Games are distinguishable
19
      from those cases, because the virtual coins in these Games are used, and
20
      at times are necessary, for players to extend their gameplay. In Soto, Mai,
21
      Coffee and Taylor, the underlying gameplay was playable without any
22
23
      purchase. The purchases at issue were for randomized packs of virtual

24    goods (loot boxes) that were not used to extend gameplay, but merely

25    provided virtual items that enhanced that gameplay. Further, those games
26    were ones of skill with the purported game of chance being a secondary
27    feature.
28          175. In contrast, the Games here have a primary gameplay


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1     mechanic that is itself a game of chance - slot machines. The purchase of
2     virtual coins is used to extend that gameplay, not merely to enhance it. For
3     these reasons, the Ninth Circuit Kater decision is more applicable than the
4     District Court decisions in Soto, Mai, Coffee and Taylor. Therefore, the
5     virtual coins here are things of value and provide an additional chance to
6     play the Games’ slot machines.
7           176. For these same reasons, the Games violate other California
8     gambling laws as set forth below.
9
            177. In addition to being used to extend gameplay, the coins in the
10
      Games are tokens and things of value under California law.
11
            178. While the Games periodically provides free coins to users and
12
      Jackpot Master allows users to view ads to obtain coins, that does not
13
      render those coins valueless.
14
            179. The offering of free coin rewards in the Games is only periodic
15
      and limited. Accordingly, these free coins do not allow players to play the
16
      Games’ slot machines continuously for an unlimited amount of time.
17
            180. Further, the requirement to view ads in Jackpot Master to
18
      obtain coins interrupts user’s gameplay for 30 seconds or longer and only
19
      provides them a modest amount of chips. Users cannot play Jackpot
20
      Master’s slot machines while the ad is running. The avoidance of that
21
      interruption, available only through the purchase of coins, is valuable. That
22
23
      value may be measured by the money paid by the advertisers. A further

24    demonstration of that value is Jackpot Master’s promotion of “no ads” in its

25    Super Sale, as can be seen in paragraph 58.
26          181. The Games are advertised and distributed through the App
27    Store and Play Store alongside other social casino games that do not
28    violate California gambling laws. The Games are also advertised on AC’s


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1     and ZGG’s respective websites.
2             182. The Games’ descriptions in these advertisements and
3     storefronts do not disclose that they violate California’s or other state’s
4     gambling laws. Plaintiffs and other consumers reasonably rely on this
5     omission to believe that the Games offer legal services. This belief is a
6     material factor in their decision to download and play the Games, as
7     opposed to another social casino game that does comply with gambling
8     laws.
9
              183. The above representations are false and misleading. Jackpot
10
      Master does offer the opportunity to win a thing of value by playing their
11
      slot machines, namely virtual coins.
12
              184. The May 2020 terms of service for Jackpot Master allowed
13
      children 13 or older to play. Ex. C at 1.
14
              185. The May 2020 terms of service for Jackpot Master stated that
15
      the game is “the property of the Company and its licensors.” Ex. C at 4.
16
      The Games Violate Arkansas Gambling Laws
17
              186. The Arkansas gambling statute provides that “(a) It is unlawful
18
       for a person to set up, keep, or exhibit any gaming table or gambling
19
       device, commonly called "A. B. C.", "E. O.", roulette, or rouge et noir, any
20
       faro bank, or any other gaming table or gambling device, or bank of the
21
       like or similar kind, or of any other description although not named in this
22
23
       section, regardless of the name or denomination, either: (1) Adapted,

24     devised, or designed for the purpose of playing any game of chance; or (2)

25     At which any money or property may be won or lost.” Ark. Code § 5-66-
26     104 (emphasis added).
27            187. The Games operating on mobile devices together with servers
28     constitute gambling devices under Arkansas law, because they are


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1      devices adapted, devised and designed for the purposes of playing a
2      game of chance, namely slot machines.
3           188. The virtual coins are also property that may be won or lost in
4      the Games’ slot machines. Arkansas law defines property to mean
5      “severed real property or tangible or intangible personal property, including
6      money or any paper or document that represents or embodies anything of
7      value.” Ark. Code. §5-36-101.
8           189. Arkansas law also prohibits keno games, providing that “[i]f a
9
       person sets up or exhibits, causes to be set up or exhibited, or aids or
10
       assists in setting up or exhibiting in the state any gaming device commonly
11
       known and designated as ‘keno’ or any similar device by any other name
12
       or without a name, upon conviction the person is guilty of a violation….”
13
       Ark. Code §5-66-110. The Games include keno games, including lottery
14
       games as described above.
15
            190. Arkansas law also prohibits lotteries, providing that “[a]ny
16
       person who in this state, directly or indirectly, sets up, promotes, engages
17
       in, or in any manner participates in any plan, scheme, device, or other
18
       means…, either alone or in concert with any other person, firm, or
19
       corporation, either within or without the State of Arkansas, in which goods,
20
       property, or any other thing of value is sold to any person, firm, or
21
       corporation for any consideration, either cash or otherwise, and upon the
22
23
       further consideration that the purchaser agrees to obtain one (1) or more

24     persons to participate in the plan, scheme, device, or other means by

25     making a similar purchase and a similar agreement to secure one (1) or
26     more other persons to participate in the plan, scheme, device, or other
27     means in the same manner, each purchaser being given the right to obtain
28     money, credits, goods, or some other thing of value, depending upon the


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1      number of persons joining in or participating in the plan, scheme, device,
2      or other means, is declared to have set up, promoted, engaged in, or
3      participated in a lottery, which is declared to be unlawful.” Ark. Code. §5-
4      66-119.
5           191. ZGG sets up, promotes, engages in, and participates in the
6      Games. Virtual coins in the Games are property or a thing of value. Virtual
7      coins in the Games are sold to users for consideration. Users are offered
8      further consideration to obtain other users to participate in the Games.
9
       Users are given the right to obtain virtual coins, which are credits or some
10
       other thing of value, depending upon the number of persons joining in or
11
       participating in the Games.
12
            192. For example, users are given virtual coins in the Games to join
13
       a team, wherein the team further receives additional rewards in the form of
14
       virtual coins based, in part, on the amount of virtual coins team members
15
       wager in the Games and their participation in the Games’ various games
16
       of chance.
17
      The Games’ Advertisements Violate The Law
18
            193. ZGG’s advertising of virtual coins in the Games violates 16
19
      CFR §233.1(a) because the stricken deals displayed are not “actual, bona
20
      fide price at which the article was offered to the public on a regular basis for
21
      a reasonably substantial period of time.” Rather, the stricken coin values
22
23
      and dollar amounts in the Super Sale offers of the Games are “fictitious”

24    and with “an artificial, inflated price” for the purpose of creating the false

25    perception to the consumer “of a large reduction.” The false strikethrough
26    ads promote a false bargain where “the purchaser is not receiving the
27    unusual value he expects.”
28          194. These advertisements are also violative of Cal. Bus. & Prof.


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1     Code §17501, because the stricken coin values and dollar amounts were
2     not “the prevailing market price … within three months next immediately
3     preceding the publication of the advertisement.” Nor do the Super Sale
4     offers “clearly, exactly and conspicuously state[] in the advertisement”
5     when such former prices were prevailing.
6           195. The effectiveness of ZGG’s deceitful advertising scheme is
7     supported by longstanding scholarly research. In the seminal article entitled
8     Comparative Price Advertising: Informative or Deceptive? (cited in Hinojos
9
      v. Kohl’s Corp., 718 F.3d 1098, 1106 (9th Cir. 2013), Professors Dhruv
10
      Grewal and Larry D. Compeau write that, “[b]y creating an impression of
11
      savings, the presence of a higher reference price enhances subjects’
12
      perceived value and willingness to buy the product.” Dhruv Grewal & Larry
13
      D. Compeau, Comparative Price Advertising: Informative or Deceptive?, 11
14
      J. Pub. Pol’y & Mktg. 52, 55 (Spring 1992). Thus, “empirical studies
15
      indicate that, as discount size increases, consumers’ perceptions of value
16
      and their willingness to buy the product increase, while their intention to
17
      search for a lower price decreases.” Id. at 56 (emphasis added). For this
18
      reason, the Ninth Circuit in Hinojos held that a plaintiff making a claim of
19
      deceptive pricing (strikingly similar to the claim at issue here) had standing
20
      to pursue his claim against the defendant retailer. In doing so, the Court
21
      observed that “[m]isinformation about a product’s ‘normal’ price is . . .
22
23
      significant to many consumers in the same way as a false product label

24    would be.” Hinojos, 718 F.3d at 1106.

25          196. Professors Compeau and Grewal reached similar conclusions
26    in a 2002 article: “decades of research support the conclusion that
27    advertised reference prices do indeed enhance consumers’ perceptions of
28    the value of the deal.” Dhruv Grewal & Larry D. Compeau, Comparative


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1     Price Advertising: Believe It Or Not, J. of Consumer Affairs, Vol. 36, No. 2,
2     at 287 (Winter 2002). The professors also found that “[c]onsumers are
3     influenced by comparison prices even when the stated reference prices are
4     implausibly high.” Id. (emphasis added).
5           197. In another scholarly publication, Professors Joan Lindsey-
6     Mullikin and Ross D. Petty concluded that “[r]eference price ads strongly
7     influence consumer perceptions of value . . . . Consumers often make
8     purchases not based on price but because a retailer assures them that a
9
      deal is a good bargain. This occurs when . . . the retailer highlights the
10
      relative savings compared with the prices of competitors . . . [T]hese
11
      bargain assurances (BAs) change consumers’ purchasing behavior and
12
      may deceive consumers.” Joan Lindsey-Mullikin & Ross D. Petty,
13
      Marketing Tactics Discouraging Price Search: Deception and Competition,
14
      64 J. of Bus. Research 67 (January 2011).
15
            198. Similarly, according to Professors Praveen K. Kopalle and Joan
16
      Lindsey-Mullikin, “research has shown that retailer-supplied reference
17
      prices clearly enhance buyers’ perceptions of value” and “have a significant
18
      impact on consumer purchasing decisions.” Praveen K. Kopalle & Joan
19
      Lindsey-Mullikin, The Impact of External Reference Price On Consumer
20
      Price Expectations, 79 J. of Retailing 225 (2003).
21
            199. The results of a 1990 study by Professors Jerry B. Gotlieb and
22
23
      Cyndy Thomas Fitzgerald, came to the conclusion that “reference prices

24    are important cues consumers use when making the decision concerning

25    how much they are willing to pay for the product.” Jerry B. Gotlieb & Cyndy
26    Thomas Fitzgerald, An Investigation Into the Effects of Advertised
27    Reference Prices On the Price Consumers Are Willing To Pay For the
28    Product, 6 J. of App’d Bus. Res. 1 (1990). This study also concluded that


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1     “consumers are likely to be misled into a willingness to pay a higher price
2     for a product simply because the product has a higher reference price.” Id.
3           200. The unmistakable inference to be drawn from this research and
4     the Ninth Circuit’s opinion in Hinojos is that the deceptive advertising
5     through the use of false reference pricing employed here by ZGG is
6     intended to, and does in fact, influence customer behavior—as it did
7     Plaintiffs’ purchasing decisions here—by artificially inflating customer
8     perceptions of a given item’s value and causing customers to spend money
9
      they otherwise would not have, purchase items they otherwise would not
10
      have, and/or spend more money than they otherwise would have absent
11
      the deceptive advertising.
12
            201. On information and belief, the Games and the false advertising
13
      presented to new users are designed to trap players in what is referred to
14
      in academia as a “compulsion loop.” A compulsion loop is defined as
15
      habitual behavior that a human will repeat to gain a neurochemical reward:
16
      a feeling of pleasure and/or a relief from pain. Not doing the behavior
17
      causes discomfort. Compulsion Loops: Compulsive Behavior As Mass
18
      Media by Adam Crowe and Richard Buchanon (available at
19
      https://www.slideshare.net/adamcrowe/compulsion-loops#btnNext).
20
            202. On information and belief, mobile games such as Cash
21
      Tornado and Jackpot Master maximize their profits by inducing players to
22
23
      enter into a compulsion loop. The Games here engage in misleading value

24    and price comparison advertising to induce players into entering a

25    compulsion loop of spending early in their interaction with the Games.
26          203. On information and belief, once games such as Cash Tornado
27    and Jackpot Master are successful at deceiving users into believing they
28    are receiving outsized values, those users are more likely to continue


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1     maintaining that belief despite evidence to the contrary. Man-Pui Sally
2     Chan, et al, Debunking: A Meta-Analysis of the Psychological Efficacy of
3     Messages Countering Misinformation, 28 Psychol. Sci. 1531, 1531 (2017),
4     https://cite.law/U5QS-2NF4 (meta-analysis focusing on “false beliefs …
5     [that] occur when the audience initially believes misinformation and that
6     misinformation persists or continues to exert psychological influence after it
7     has been rebutted”).
8           204. Another cognitive bias exploited by the Games is known as
9
      “sunk cost” bias. Sunk cost bias describes a decision-making heuristic
10
      where an individual escalates his or her commitment to a previously
11
      chosen, but unsuccessful course of action to justify the prior “investments”
12
      in purchasing coins. Thus, but inducing players into making purchases in
13
      the Games through deceptive advertisements, ZGG creates a higher
14
      likelihood that those players will be committed to the Games and continue
15
      spending money in the Games.
16
            205. A phenomenon known as “chasing” (continuing to gamble to
17
      recoup losses) is “one of the central characteristics of pathological
18
      gamblers.” Chasing is “widely regarded as a defining feature in disordered
19
      gambling,” is “the most commonly endorsed item in screening tools for
20
      disordered gambling,” and its presence “establishes and maintains a
21
      downward spiral of negative consequences for the gambler’s finances,
22
23
      relationships, and mental well-being.” Ke Zhang and Luke Clark, Loss-

24    chasing in gambling behaviour: neurocognitive and behavioural economic

25    perspectives, Current Opinion in Behavioral Sciences, 31:1-7 (Feb. 2020).
26    Therefore, by inducing players into making early purchases in the Games
27    through misleading sale advertisements, the Games increase impact of
28    their gambling mechanics to push players into an addictive “chasing”


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1     phenomenon.
2           206. Further, by creating a false sense of urgency in their Super
3     Sale offers, the Games increase the likelihood that players will make an
4     impulse purchase.
5     ZGG’s Conduct Is Ongoing
6           207. ZGG has not materially changed the operation of the illegal
7     games of chance and Super Sale offers in the Games since the filing of this
8     lawsuit.
9
            208. Since the filing of this lawsuit, ZGG has continued and
10
      expanded its violations of gambling and false advertising laws at the
11
      expense of consumers. Approximately three months ago, ZGG launched a
12
      new mobile casino game called Jackpot Friends Slots Casino. Jackpot
13
      Friends includes the same illegal gambling and false advertising as the
14
      Games, including misleading Super Sale Offers.
15
            209. Jackpot Friends provides slot machines similar to those of the
16
      Games:
17
18
19
20
21
22
23
24
            210. Jackpot Friends also uses virtual coins that are wagered in
25
      games of chance. Users must bet a minimum amount of virtual coins (see
26
      bottom right of above screenshot) to play the slot machines. The virtual
27
      coins are won or lost in the slot machines based on chance.
28


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1           211. When users run out of virtual coins, they are presented with
2     multiple offers for purchasing virtual coins, including Super Sale Offers that
3     include false former prices and misleading countdown timers:
4
5
6
7
8
9
10
11
12          212. Users can be prohibited from playing the slot machines for
13    several hours if they do not purchase additional virtual coins. Accordingly,
14    the winning of virtual coins extends user’s gameplay and the virtual coins
15    are things of value, credits and tokens.
16          213. The Super Sale Offers in Jackpot Friends are misleading in
17    substantially similar ways as Jackpot Master and Cash Tornado. They
18    include a countdown timer. The timer shown above has fifty-one seconds
19    remaining. A trivial amount of time after the countdown timer expires
20    (minutes or less), a better Super Sale Offer presented:
21
22
23
24
25
26
27
28


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1           214. Immediately after the expiration of the four minutes and fifteen
2     seconds shown in the Super Sale Offer above, Jackpot Friends shows the
3     same Super Sale Offer again with a new misleading countdown timer. The
4     screenshot below was taken from Jackpot Friends on the same device five
5     minutes after the above screen shot:
6
7
8
9
10
11
12
13          215. Similar to the Super Sale offers in the Games, the Super Sale
14    offers in Jackpot Friends misleads users as to the ordinary and prevailing
15    price for virtual coins and further misleads users as to the duration and
16
      scarcity of Super Sale offers. Super Sale offers are unavailable for only
17
      trivial periods of time in Jackpot Friends.
18
            216. ZGG’s introduction of a new game with these same misleading
19
      and illegal features together with its continuing use of these same
20
      misleading and illegal features in the Games demonstrates that absent
21
      public injunctive relief, ZGG will continue to expose the public to these
22
      types of illegal, unfair and fraudulent business practices. Plaintiffs,
23
      members of the class and the general public continue to use their mobile
24
      devices to explore new applications and therefore have an ongoing interest
25
      in ZGG discontinuing its illegal, unfair and fraudulent business practices.
26
                                      APPLICABLE LAW
27
            217. Ms. Ochoa is a citizen and resident of Los Angeles County,
28


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1     California. She downloaded and played Jackpot Master in Los Angeles
2     County. She made purchases from Jackpot Master in Los Angeles County.
3     Her purchases were processed by Apple, an entity headquartered in
4     California.
5           218. Ms. Brown made purchases from Cash Tornado through Apple,
6     an entity headquartered in California.
7           219. On information and belief, Defendants have their principal place
8     of business in California.
9
            220. California's substantive laws may be constitutionally applied to
10
      the claims of Plaintiffs under the Due Process Clause, 14th Amend. §1, and
11
      the Full Faith and Credit Clause, Art. IV §1 of the U.S. Constitution.
12
      California has significant contacts, or significant aggregation of contacts, to
13
      the claims asserted by Plaintiffs, thereby creating state interests that
14
      ensure that the choice of California state law is not arbitrary or unfair.
15
            221. The application of California laws is also appropriate under
16
      California’s choice of law rules because California has significant contacts
17
      to the claims of Plaintiffs, and California has a greater interest in applying
18
      its laws here than any other interested state.
19
            222. On information and belief, Defendant voluntarily subjects itself
20
      to the application of California law.
21
            223. California law may be used on a class-wide basis, because the
22
23
      interests of other states do not outweigh California’s interest in having its

24    law applied.

25          224. California has a unique interest in having its laws apply to this
26    case, including to non-residents. Defendant is headquartered in California.
27    The Games are advertised and distributed primarily through the Apple and
28    Google mobile stores. These mobile stores are owned and operated by


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1     Apple and Google, respectively, both companies having headquarters in
2     California. The Games are also advertised on Facebook, also a company
3     headquartered in California.
4           225. On information and belief, in distributing its games through the
5     Apple and Google stores, ZGG entered into developer agreements with
6     Apple and Google governing the development and distribution of the
7     Game. Those agreements, which ZGG entered into for the purpose of
8     distributing the Games in the United States apply California law.
9
            226. Consumers execute their transaction for the in-game chips in
10
      the Game with Apple and Google payment systems.
11
            227. Plaintiffs and other consumers enter into end user agreements
12
      with Apple and Google, which require the application of California law.
13
            228. To the extent Ms. Brown lacks standing to bring claims under
14
      California law, Ms. Brown brings claims under Arkansas law as set forth
15
      below. Arkansas’ common law may be applied on a class-wide basis,
16
      because there are no material differences between Arkansas common law
17
      and other state’s common law that are relevant to establishing the causes
18
      of action alleged herein.
19
                                  CLASS ALLEGATIONS
20
            229. Plaintiffs bring this action on behalf of themselves and all
21
      persons similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4)
22
23
      of the Federal Rules of Civil Procedure and seeks certification of the

24    following class:

25             All individuals located within the United States who, during
26             the applicable limitations period, made a purchase of virtual
27             gold in Jackpot Master or Cash Tornado using real-world
28             currency.


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1           230. The above-described class of persons shall hereafter be
2     referred to as the “Class.” The following people are excluded from the
3     Class: (1) any Judge or Magistrate Judge presiding over this action and
4     members of their families; (2) Defendant, Defendants’ subsidiaries,
5     parents, successors, predecessors, and any entity in which the Defendants
6     or their parents have a controlling interest and their current or former
7     employees, officers and directors; (3) persons who properly execute and
8     file a timely request for exclusion from the Class; (4) persons whose claims
9
      in this matter have been finally adjudicated on the merits or otherwise
10
      released; (5) Plaintiff’s counsel and Defendants’ counsel; and (6) the legal
11
      representatives, successors, and assigns of any such excluded persons.
12
            231. In the alternative, Ms. Ochoa seeks certification of the following
13
      class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules
14
      of Civil Procedure:
15
               All individuals located within the United States who, during
16
               the applicable limitations period, made a purchase of virtual
17
               gold in Jackpot Master using real-world currency.
18
            232. The above-described class of persons shall hereafter be
19
      referred to as the “Jackpot Master Sub-Class.” The following people are
20
      excluded from the Jackpot Master Sub-Class: (1) any Judge or Magistrate
21
      Judge presiding over this action and members of their families; (2)
22
23
      Defendant, Defendants’ subsidiaries, parents, successors, predecessors,

24    and any entity in which the Defendants or their parents have a controlling

25    interest and their current or former employees, officers and directors; (3)
26    persons who properly execute and file a timely request for exclusion from
27    the Class; (4) persons whose claims in this matter have been finally
28    adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and


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1     Defendants’ counsel; and (6) the legal representatives, successors, and
2     assigns of any such excluded persons.
3           233. In the alternative, Ms. Ochoa seeks certification of the following
4     class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules
5     of Civil Procedure:
6              All individuals located within the State of California who,
7              during the applicable limitations period, made a purchase of
8              virtual gold in Jackpot Master using real-world currency.
9
            234. The above-described class of persons shall hereafter be
10
      referred to as the “Jackpot Master California Sub-Class.” The following
11
      people are excluded from the Jackpot Master California Sub-Class: (1) any
12
      Judge or Magistrate Judge presiding over this action and members of their
13
      families; (2) Defendant, Defendants’ subsidiaries, parents, successors,
14
      predecessors, and any entity in which the Defendants or their parents have
15
      a controlling interest and their current or former employees, officers and
16
      directors; (3) persons who properly execute and file a timely request for
17
      exclusion from the Class; (4) persons whose claims in this matter have
18
      been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
19
      counsel and Defendants’ counsel; and (6) the legal representatives,
20
      successors, and assigns of any such excluded persons.
21
            235. In the alternative, Ms. Brown seeks certification of the following
22
23
      pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

24    Civil Procedure:

25             All individuals located within the United States who, during the
26             applicable limitations period, made a purchase of virtual gold in
27             Cash Tornado using real-world currency.
28


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1           236. The above-described class of persons shall hereafter be
2     referred to as the “Cash Tornado Sub-Class.” The following people are
3     excluded from the Cash Tornado Sub-Class: (1) any Judge or Magistrate
4     Judge presiding over this action and members of their families; (2)
5     Defendant, Defendants’ subsidiaries, parents, successors, predecessors,
6     and any entity in which the Defendants or their parents have a controlling
7     interest and their current or former employees, officers and directors; (3)
8     persons who properly execute and file a timely request for exclusion from
9
      the Class; (4) persons whose claims in this matter have been finally
10
      adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and
11
      Defendants’ counsel; and (6) the legal representatives, successors, and
12
      assigns of any such excluded persons.
13
            237. In the alternative, Ms. Brown seeks certification of the following
14
      pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of
15
      Civil Procedure:
16
               All individuals located within the State of Arkansas who, during the
17
               applicable limitations period, made a purchase of virtual gold in
18
               Cash Tornado using real-world currency.
19
            238. The above-described class of persons shall hereafter be
20
      referred to as the “Cash Tornado Arkansas Sub-Class.” The following
21
      people are excluded from the Arkansas Sub-Class: (1) any Judge or
22
23
      Magistrate Judge presiding over this action and members of their families;

24    (2) Defendant, Defendants’ subsidiaries, parents, successors,

25    predecessors, and any entity in which the Defendants or their parents have
26    a controlling interest and their current or former employees, officers and
27    directors; (3) persons who properly execute and file a timely request for
28    exclusion from the Class; (4) persons whose claims in this matter have


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1     been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
2     counsel and Defendants’ counsel; and (6) the legal representatives,
3     successors, and assigns of any such excluded persons.
4           239. In the alternative, Plaintiffs seek certification of the following
5     sub-class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal
6     Rules of Civil Procedure:
7              All individuals located within the United States who, during the
8              applicable limitations period, made a purchase of virtual gold
9
               through a Super Sale offer in Jackpot Master or Cash Tornado
10
               using real-world currency.
11
            240. The above-described class of persons shall hereafter be
12
      referred to as the “Super Sale National Sub-Class.” The following people
13
      are excluded from the Super Sale National Sub-Class: (1) any Judge or
14
      Magistrate Judge presiding over this action and members of their families;
15
      (2) Defendant, Defendants’ subsidiaries, parents, successors,
16
      predecessors, and any entity in which the Defendants or their parents have
17
      a controlling interest and their current or former employees, officers and
18
      directors; (3) persons who properly execute and file a timely request for
19
      exclusion from the Class; (4) persons whose claims in this matter have
20
      been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
21
      counsel and Defendants’ counsel; and (6) the legal representatives,
22
23
      successors, and assigns of any such excluded persons.

24          241. In the alternative, Ms. Ochoa seeks certification of the following

25    sub-class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal
26    Rules of Civil Procedure:
27             All individuals located within the United States who, during the
28             applicable limitations period, made a purchase of virtual gold


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1              through a Super Sale offer in Jackpot Master using real-world
2              currency.
3           242. The above-described class of persons shall hereafter be
4     referred to as the “Super Sale Jackpot Master Subclass.” The following
5     people are excluded from the Super Sale Jackpot Master Subclass: (1) any
6     Judge or Magistrate Judge presiding over this action and members of their
7     families; (2) Defendant, Defendants’ subsidiaries, parents, successors,
8     predecessors, and any entity in which the Defendants or their parents have
9
      a controlling interest and their current or former employees, officers and
10
      directors; (3) persons who properly execute and file a timely request for
11
      exclusion from the Class; (4) persons whose claims in this matter have
12
      been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
13
      counsel and Defendants’ counsel; and (6) the legal representatives,
14
      successors, and assigns of any such excluded persons.
15
            243. In the alternative, Ms. Ochoa seeks certification of the following
16
      sub-class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal
17
      Rules of Civil Procedure:
18
               All individuals located within the State of California who, during the
19
               applicable limitations period, made a purchase of virtual gold
20
               through a Super Sale offer in Jackpot Master using real-world
21
               currency.
22
23
            244. The above-described class of persons shall hereafter be

24    referred to as the “Super Sale Jackpot Master California Subclass.” The

25    following people are excluded from the Super Sale Jackpot Master
26    Subclass: (1) any Judge or Magistrate Judge presiding over this action and
27    members of their families; (2) Defendant, Defendants’ subsidiaries,
28    parents, successors, predecessors, and any entity in which the Defendants


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1     or their parents have a controlling interest and their current or former
2     employees, officers and directors; (3) persons who properly execute and
3     file a timely request for exclusion from the Class; (4) persons whose claims
4     in this matter have been finally adjudicated on the merits or otherwise
5     released; (5) Plaintiff’s counsel and Defendants’ counsel; and (6) the legal
6     representatives, successors, and assigns of any such excluded persons.
7           245. In the alternative, Ms. Brown seeks certification of the following
8     sub-class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal
9
      Rules of Civil Procedure:
10
               All individuals located within the United States who, during the
11
               applicable limitations period, made a purchase of virtual gold
12
               through a Super Sale offer in Cash Tornado using real-world
13
               currency.
14
            246. The above-described class of persons shall hereafter be
15
      referred to as the “Super Sale Cash Tornado Subclass.” The following
16
      people are excluded from the Super Sale Arkansas Class: (1) any Judge or
17
      Magistrate Judge presiding over this action and members of their families;
18
      (2) Defendant, Defendants’ subsidiaries, parents, successors,
19
      predecessors, and any entity in which the Defendants or their parents have
20
      a controlling interest and their current or former employees, officers and
21
      directors; (3) persons who properly execute and file a timely request for
22
23
      exclusion from the Class; (4) persons whose claims in this matter have

24    been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s

25    counsel and Defendants’ counsel; and (6) the legal representatives,
26    successors, and assigns of any such excluded persons.
27
28


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1           247. In the alternative, Ms. Brown seeks certification of the following
2     sub-class pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal
3     Rules of Civil Procedure:
4              All individuals located within the State of Arkansas who, during the
5              applicable limitations period, made a purchase of virtual gold
6              through a Super Sale offer in Cash Tornado using real-world
7              currency.
8           248. The above-described class of persons shall hereafter be
9
      referred to as the “Super Sale Cash Tornado Arkansas Subclass.” The
10
      following people are excluded from the Super Sale Cash Tornado Arkansas
11
      Subclass: (1) any Judge or Magistrate Judge presiding over this action and
12
      members of their families; (2) Defendant, Defendants’ subsidiaries,
13
      parents, successors, predecessors, and any entity in which the Defendants
14
      or their parents have a controlling interest and their current or former
15
      employees, officers and directors; (3) persons who properly execute and
16
      file a timely request for exclusion from the Class; (4) persons whose claims
17
      in this matter have been finally adjudicated on the merits or otherwise
18
      released; (5) Plaintiff’s counsel and Defendants’ counsel; and (6) the legal
19
      representatives, successors, and assigns of any such excluded persons.
20
            249. The Class and Sub-Classes set forth above are collectively
21
      referred to herein as “Classes.” Plaintiffs reserve the right to expand, limit,
22
23
      modify, or amend the class definitions stated above, including the addition

24    of one or more subclasses, in connection with a motion for class

25    certification, or at any other time, based upon, among other things,
26    changing circumstances, or new facts obtained during discovery.
27          250. This case is appropriate for class treatment because Plaintiffs
28    can prove the elements of her claims on a class-wide basis using the same


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1     evidence as would be used to prove those elements in individual actions
2     alleging the same claims.
3           251. Adequacy. Plaintiffs will fairly and adequately represent and
4     protect the interests of the other members of the Classes. Plaintiffs have
5     retained counsel with substantial experience in prosecuting complex
6     litigation and class actions. Plaintiffs and their counsel are committed to
7     vigorously prosecuting this action on behalf of the other members of the
8     Classes, and have the financial resources to do so. Neither Plaintiffs nor
9
      their counsel have any interest adverse to those of the other members of
10
      the Classes.
11
            252. Numerosity. The members of the Classes are so numerous
12
      that joinder of all members would be unfeasible and not practicable. The
13
      membership of the Classes is unknown to Plaintiffs at this time; however, it
14
      is estimated the Classes number in the hundreds, if not thousands. The
15
      identity of such membership is readily ascertainable via inspection of
16
      Defendant’s or third-party books and records or other approved methods.
17
      Similarly, Members of the Classes may be notified of the pendency of this
18
      action by mail, email, internet postings, social media, publications and/or in-
19
      game messaging.
20
            253. Common Questions of Law or Fact: There are common
21
      questions of law and fact as to Plaintiffs and all other similarly situated
22
23
      persons, which predominate over questions affecting only individual class

24    members, including, without limitation:

25          a.    Whether ZGG designed, advertised, marketed, distributed,
26    sold, or otherwise placed Jackpot Master Slots and Cash Tornado into the
27    stream of commerce in the United States and California;
28


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1           b.     Whether the operation and presentation of Super Sale Offers
2     was the same or substantially similar for all users of the Games;
3           c.     Whether the Super Sale offers in the Games are false or
4     misleading to a reasonable consumer;
5           d.     Whether a reasonably consumer would reasonably rely on the
6     false representations in Super Sale offers in the Games;
7           e.     Whether the false representations in Super Sale offers
8           f.     Whether ZGG’s conduct emanated from State of California;
9
            g.     Whether the Games’ presentation of stricken values in its
10
      advertising of in-game purchases are misleading to a reasonable
11
      consumer;
12
            h.     Whether the Games’ presentation of purported limited time
13
      sales for in-game purchases are misleading to a reasonable consumer;
14
            i.     Whether Plaintiffs and members of the Classes were injured
15
      and harmed directly by the Games;
16
            j.     Whether Plaintiffs and members of the Classes were injured
17
      and harmed directly by the Games’ false advertising;
18
            k.     Whether Plaintiffs and members of the Classes are entitled to
19
      damages due to Defendants’ conduct as alleged in this Complaint, and if
20
      so, in what amounts;
21
            l.     Whether the Games violate the gambling laws of California,
22
23
      Arkansas or other states.

24          m.     Whether Plaintiffs and members of the Classes are entitled to

25    equitable relief, including, but not limited to, restitution or injunctive relief as
26    requested in this Complaint.
27          254. Typicality: Plaintiffs’ claims are typical of the claims of the
28    other members of the Classes because, among other things, Plaintiffs and


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1     all members of the Classes were comparably injured through Defendants’
2     misconduct described above. As alleged herein, Plaintiffs, like the
3     members of the Classes, made purchases they would not have otherwise
4     made and were deprived of monies that rightfully belonged to them by
5     Defendants. Further, there are no defenses available to Defendants that
6     are unique to Plaintiffs.
7           255. Superiority: The nature of this action and the laws available to
8     Plaintiffs and members of the Classes make the class action format a
9
      particularly efficient and appropriate procedure to redress the violations
10
      alleged herein. If each class member were required to file an individual
11
      lawsuit, Defendants would necessarily gain an unconscionable advantage
12
      since it would be able to exploit and overwhelm the limited resources of
13
      each individual plaintiff with its vastly superior financial and legal resources.
14
      Moreover, the prosecution of separate actions by the individual class
15
      members, even if possible, would create a substantial risk of inconsistent or
16
      varying verdicts or adjudications with respect to the individual class
17
      members against Defendants, and which would establish potentially
18
      incompatible standards of conduct for Defendant and/or legal
19
      determinations with respect to individual class members which would, as a
20
      practical matter, be dispositive of the interest of the other class members
21
      not parties to adjudications or which would substantially impair or impede
22
23
      the ability of the class members to protect their interests. Further, the

24    claims of the individual members of the Classes are not sufficiently large to

25    warrant vigorous individual prosecution considering all of the concomitant
26    costs and expenses attending thereto.
27
28


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1                           FIRST CLAIM FOR RELIEF
             Violation of California’s Unfair Competition Law (“UCL”)
2
                    Cal. Bus. & Profession Code §17200 et seq.
3            Ms. Ochoa - Unlawful, Unfair and Fraudulent Advertising
4           256. Plaintiffs incorporate by reference all allegations in this
5     Complaint and restates them as if fully set forth herein.
6           257. Ms. Ochoa brings this claim for relief on behalf of herself and all
7     Classes.
8           258. The UCL defines unfair business competition to include any
9     “unlawful, unfair or fraudulent” act or practice, as well as any "unfair,
10    deceptive, untrue or misleading” advertising. Cal. Bus. & Prof. Code
11    §17200.
12          259. A business act or practice is “unlawful” under the UCL if it
13    violates any other law or regulation.
14          260. A business act or practice is “unfair” under the UCL if the
15    reasons, justifications, and motives of the alleged wrongdoer are
16
      outweighed by the gravity of the harm to the alleged victims. A business act
17
      or practice is “fraudulent” under the UCL if it is likely to deceive members of
18
      the consuming public.
19
            261. ZGG has violated the “unlawful” prong under the UCL and has
20
      engaged in “unfair, deceptive, untrue or misleading” advertising.
21
            262. The Federal Trade Commission Act prohibits “unfair or
22
      deceptive acts or practices in or affecting commerce” (15 U.S.C. §45(a)(1))
23
      and specifically prohibits false advertisements. 15 U.S.C. §52(a). FTC
24
      Regulations describe false former pricing schemes-similar to those used in
25
      the Games’ Super Sale offers in all material respects-as deceptive
26
      practices that would violate the FTC Act.
27
            263. 16 C.F.R. §233.1 states:
28


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           (a) One of the most commonly used forms of bargain
1
               advertising is to offer a reduction from the advertiser's
2              own former price for an article. If the former price is
               the actual, bona fide price at which the article was
3              offered to the public on a regular basis for a
               reasonably substantial period of time, it provides a
4
               legitimate basis for the advertising of a price
5              comparison. Where the former price is genuine, the
               bargain being advertised is a true one. If, on the other
6              hand, the former price being advertised is not bona
               fide but fictitious - for example, where an artificial,
7
               inflated price was established for the purpose of
8              enabling the subsequent offer of a large reduction -
               the “bargain” being advertised is a false one; the
9              purchaser is not receiving the unusual value he
10
               expects. In such a case, the “reduced” price is, in
               reality, probably just the seller's regular price.
11
           (b) A former price is not necessarily fictitious merely
12             because no sales at the advertised price were made.
13
               The advertiser should be especially careful, however,
               in such a case, that the price is one at which the
14             product was openly and actively offered for sale, for a
               reasonably substantial period of time, in the recent,
15             regular course of his business, honestly and in good
16             faith - and, of course, not for the purpose of
               establishing a fictitious higher price on which a
17             deceptive comparison might be based. And the
               advertiser should scrupulously avoid any implication
18             that a former price is a selling, not an asking price (for
19             example, by use of such language as, “Formerly sold
               at $___”), unless substantial sales at that price were
20             actually made.
21
           (c) The following is an example of a price comparison
22             based on a fictitious former price. John Doe is a
               retailer of Brand X fountain pens, which cost him $5
23             each. His usual markup is 50 percent over cost; that
               is, his regular retail price is $7.50. In order
24
               subsequently to offer an unusual “bargain”, Doe
25             begins offering Brand X at $10 per pen. He realizes
               that he will be able to sell no, or very few, pens at this
26             inflated price. But he doesn't care, for he maintains
               that price for only a few days. Then he “cuts” the price
27
               to its usual level - $7.50 - and advertises: “Terrific
28             Bargain: X Pens, Were $10, Now Only $7.50!” This is


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               obviously a false claim. The advertised “bargain” is
 1
               not genuine.
 2
           (d) Other illustrations of fictitious price comparisons could
 3             be given. An advertiser might use a price at which he
               never offered the article at all; he might feature a
 4
               price which was not used in the regular course of
 5             business, or which was not used in the recent past
               but at some remote period in the past, without making
 6             disclosure of that fact; he might use a price that was
               not openly offered to the public, or that was not
 7
               maintained for a reasonable length of time, but was
 8             immediately reduced.
 9         (e) If the former price is set forth in the advertisement,
10
               whether accompanied or not by descriptive
               terminology such as “Regularly,” “Usually,”
11             “Formerly,” etc., the advertiser should make certain
               that the former price is not a fictitious one. If the
12             former price, or the amount or percentage of
13
               reduction, is not stated in the advertisement, as when
               the ad merely states, “Sale,” the advertiser must take
14             care that the amount of reduction is not so
               insignificant as to be meaningless. It should be
15             sufficiently large that the consumer, if he knew what it
16             was, would believe that a genuine bargain or saving
               was being offered. An advertiser who claims that an
17             item has been “Reduced to $9.99,” when the former
               price was $10, is misleading the consumer, who will
18             understand the claim to mean that a much greater,
19             and not merely nominal, reduction was being offered.

20
           264. California law also prohibits false former pricing

21
      schemes. Cal. Bus. Code. §17501 entitled “Value

22 determinations; Former price advertisements,” states:
        For the purpose of this article the worth or value of
23      anything advertised is the prevailing market price,
        wholesale if the offer is at wholesale, retail if the offer is
24
        at retail, at the time of publication of such advertisement
25      in the locality wherein the advertisement is published.
26         No price shall be advertised as a former price of any
           advertised thing, unless the alleged former price was the
27
           prevailing market price as above defined within three
28         months next immediately preceding the publication of the


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            advertisement or unless the date when the alleged
1
            former price did prevail is clearly, exactly and
2           conspicuously stated in the advertisement.
3           265. California’s False Advertising Law also prohibits a business
4     from “[a]dvertising goods or services with intent not to sell them as
5     advertised,” Cal. Civ. Code §1770(a)(9), and prohibits a business from
6     “[m]aking false or misleading statements of fact concerning reasons for,
7     existence of, or amounts of price reductions.” Id. §(a)(13).
8           266. Jackpot Master’s strikethrough graphics and comparative
9     values, for example, in Super Sale offers, violate the unlawful prongs of the
10    UCL, because they violate 16 C.F.R. §233.1, Cal. Bus. Prof. Code §1750,
11    Cal. Civ. Code §§1770(a)(9) and (a)(13).
12          267. Defendant also violated the “unfair” prong of the UCL by falsely
13    representing that its consumers received a discount from a referenced
14    “original” former price show in its Super Sale offers. In fact, ZGG displayed
15    to new users a fictitious stricken reference price for a quantity of virtual
16
      coins in Jackpot Master, where other users of Jackpot Master were being
17
      offered far better deals than the fictitious reference price.
18
            268. Defendant also violated the “unfair” prong of the UCL by falsely
19
      representing to consumers that Super Sale offers were limited in time,
20
      when in fact such offers would be presented repeatedly and frequently.
21
            269. The gravity of the harm to Ms. Ochoa and members of the
22
      Classes resulting from these unfair acts and practices outweighs any
23
      conceivable reasons, justifications, or motives that ZGG may have had for
24
      engaging in such deceptive acts and practices.
25
            270. Additionally, ZGG violated the “fraudulent” prong of the UCL
26
      because its marketing and advertising materials included prices that
27
      reasonable consumers understood to represent original, ordinary,
28


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1     prevailing or normal prices for virtual coins in Jackpot Master, whereas
2     those prices were fictious and inflated as compared to the prevailing offers
3     Jackpot Master made to other users.
4           271. Additionally, ZGG violated the “fraudulent” prong of the UCL
5     because its Super Sale offers included countdown timers that reasonable
6     consumers, including Ms. Ochoa, understood to mean that the offers would
7     be available for only limited duration. In reality, the same or better Super
8     Sale offers would be offered in Jackpot Master repeatedly and frequently.
9
            272. Ms. Ochoa and members of the Classes suffered cognizable
10
      harm as a result of these unfair acts and practices. Ms. Ochoa and
11
      members of the Classes reasonably understood the strikethrough graphics
12
      in Jackpot Master described herein as communicating the ordinary, normal,
13
      prevailing former pricing or value for virtual coins in Jackpot Master. In
14
      reality, the stricken values were fictitious. Ms. Ochoa and members of the
15
      Classes reasonably relied on their understanding in their decision to make
16
      in-game purchases in Jackpot Master. But for ZGG’s misleading and false
17
      advertising and Ms. Ochoa’ and class members’ reasonable reliance
18
      thereon, Ms. Ochoa and members of the Classes would not have made
19
      some or all of their purchases in Jackpot Master.
20
            273. In addition, Ms. Ochoa and members of the Classes reasonably
21
      understood that Super Sale offers in Jackpot Master would be available for
22
23
      only a limited duration of time. In reality, Super Sale offers of the same or

24    better value were offered repeatedly and frequently. Ms. Ochoa and

25    members of the Classes reasonably relied on their understanding of the
26    duration and urgency regarding Super Sale offers in their decision to make
27    in-game purchases in Jackpot Master. But for ZGG’s misleading and false
28    advertising and Ms. Ochoa’s and class members’ reasonable reliance


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1     thereon, Ms. Ochoa and members of the Classes would not have made
2     some or all of their purchases in Jackpot Master.
3           274. As a result of these violations under each of the fraudulent,
4     unfair, and unlawful prongs of the UCL, ZGG has been unjustly enriched at
5     the expense of Ms. Ochoa and the Classes. Specifically, ZGG has been
6     unjustly enriched by obtaining revenues and profits that it would not
7     otherwise have obtained absent its false, misleading, and deceptive
8     conduct.
9
            275. Ms. Ochoa enjoys playing mobile games and is continuously in
10
      the market for lawful mobile games. As such, she is likely to continue to
11
      encounter Defendant’s unlawful Games absent injunctive relief.
12
            276. ZGG is continuing to expose the general public to its false
13
      advertising. Plaintiffs, members of the class and the general public continue
14
      to use their mobile devices to explore new applications and therefore have
15
      an ongoing interest in ZGG discontinuing its illegal, unfair and fraudulent
16
      business practices.
17
            277. Through its unfair acts and practices, ZGG improperly obtained
18
      money from Ms. Ochoa and members of the Classes. As such, Plaintiffs,
19
      on behalf of themselves and the putative Classes, request that this Court
20
      cause ZGG to restore this money to Ms. Ochoa and the members of the
21
      Classes, and to enjoin ZGG from continuing to violate the UCL, and/or from
22
23
      violating the UCL in the future. Otherwise, Ms. Ochoa and members of the

24    Classes may be irreparably harmed and/or denied an effective and

25    complete remedy if such an order is not granted.
26
27
28


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1                           SECOND CLAIM FOR RELIEF
              Violation of California’s Unfair Competition Law (“UCL”)
2
                     Cal. Bus. & Profession Code §17200 et seq.
3                           Ms. Ochoa - Illegal Gambling
4           278. Ms. Ochoa incorporates by reference all allegations in this
5     Complaint and restates them as if fully set forth herein.
6           279. Ms. Ochoa brings this claim for relief on behalf of themselves
7     and all Classes.
8           280. The UCL defines unfair business competition to include any
9     “unlawful, unfair or fraudulent” act or practice, as well as any "unfair,
10    deceptive, untrue or misleading” advertising. Cal. Bus. & Prof. Code
11    §17200.
12          281. A business act or practice is “unlawful” under the UCL if it
13    violates any other law or regulation.
14          282. As a result of engaging in the conduct alleged in this Complaint,
15    Defendant has violated the UCL’s proscription against engaging in
16
      “unlawful” conduct by virtue of its violations of the following laws:
17
                  (a) California’s Gambling Control Act (Cal. Bus. & Prof.
18
      Code §§ 19800, et seq.): Sections 19801 and 19850 of the Gambling
19
      Control Act provide that unless licensed, state law prohibits commercially
20
      operated gambling facilities; that no new gambling establishment may be
21
      opened except upon affirmative vote of the electors; that all gambling
22
      operations and persons having significant involvement therein shall be
23
      licensed, registered, and regulated; and that all persons involved in dealing,
24
      operating, carrying on, conducting, maintaining or exposing for play any
25
      gambling game shall apply for and obtain a valid state gambling license.
26
      The Games and their coins constitute a “gambling game” because they are
27
      a “controlled game,” which is “any game of chance, including any gambling
28


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1     device…played for currency, check, credit, or any other thing of value that
2     is not prohibited and made unlawful by statute or local ordinance.” Cal.
3     Penal Code § 337j(1). As alleged herein, ZGG operates, carries on,
4     conducts, maintains, and exposes for play gambling activities. On
5     information and belief, ZGG has not applied for or obtained any state
6     gambling license, and therefore violates California’s Gambling Control Act.
7                 (b) California Penal Code § 330a: Titled “Possession or
8     keeping of slot or card machine or card dice,” section 330a declares that
9
      “[e]very person, who has in his or her possession or under his or her
10
      control…or who permits to be placed, maintained, or kept in any room,
11
      space, inclosure, or building owned, leased, or occupied by him or her, or
12
      under his or her management or control, any slot or card machine,
13
      contrivance, appliance or mechanical device, upon the result of action of
14
      which money or other valuable thing is staked or hazarded, and which is
15
      operated, or played, by placing or depositing therein any coins, checks,
16
      slugs, balls, or other articles or device, or in any other manner and by
17
      means whereof, or as a result of the operation of which any merchandise,
18
      money, representative or articles of value, checks, or tokens, redeemable
19
      in or exchangeable for money or any other thing of value, is won or lost, or
20
      taken from or obtained from the machine, when the result of action or
21
      operation of the machine, contrivance, appliance, or mechanical device is
22
23
      dependent upon hazard or chance…is guilty of a misdemeanor.”

24    Defendants violate section 330a because as alleged, Defendants each

25    possess, have under their control, or permit illegal slot machines where
26    tokens or things of value are won or lost upon chance.
27                (c) California Penal Code § 330b: Titled “Possession or
28    keeping of slot machines or devices,” section 330b declares that “[i]t is


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1     unlawful for any person to manufacture, repair, own, store, possess, sell,
2     rent, lease, let on shares, lend or give away, transport, or expose for sale
3     or lease, or to offer to repair, sell, rent, lease, let on shares, lend or give
4     away, or permit the operation, placement, maintenance, or keeping of, in
5     any place, room, space, or building owned, leased, or occupied, managed,
6     or controlled by that person, any slot machine or device, as defined in this
7     section.” It is also “unlawful for any person to make or permit the making of
8     an agreement with another person regarding any slot machine or device,
9
      by which the user of the slot machine or device, as a result of the element
10
      of hazard or chance or other unpredictable outcome, may become entitled
11
      to receive money, credit, allowance, or other thing of value or additional
12
      chance or right to use the slot machine or device…” As alleged, ZGG
13
      makes, repairs, owns and gives away the Games’ slot machines. Further,
14
      as alleged, ZGG has made agreements with Apple, Google, Plaintiffs,
15
      members of the Classes and others regarding slot machines or devices
16
      and permits the operation, placement, maintenance, or keeping of a slot
17
      machine or device as defined by Penal Code § 330b(d). Still further, as
18
      alleged, AC has made or permitted the making of an agreement with
19
      AppLovin Cyprus Ltd., ZGG, Madness Limited, Apple, Google, Plaintiffs,
20
      members of the Classes and others regarding slot machines or devices.
21
                   (d) California Penal Code §§ 330.1 et seq.: Titled
22
23
      “Manufacture, possession, or disposition of slot machines or device,”

24    section 330.1(a) declares that “Every person who manufactures, owns,

25    stores, keeps, possesses, sells, rents, leases, lets on shares, lends or
26    gives away, transports, or exposes for sale or lease, or offers to sell, rent,
27    lease, let on shares, lend or give away or who permits the operation of or
28    permits to be placed, maintained, used, or kept in any room, space, or


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1     building owned, leased, or occupied by him or her or under his or her
2     management or control, any slot machine or device as hereinafter defined,
3     and every person who makes or permits to be made with any person any
4     agreement with reference to any slot machine or device as hereinafter
5     defined, pursuant to which agreement the user thereof, as a result of any
6     element of hazard or chance, may become entitled to receive anything of
7     value or additional chance or right to use that slot machine or device, or to
8     receive any check, slug, token, or memorandum, whether of value or
9
      otherwise, entitling the holder to receive anything of value, is guilty of a
10
      misdemeanor.” Defendants violate section 330.1 because as alleged,
11
      Defendants have made agreements with others regarding slot machines or
12
      devices, or otherwise possess or permit illegal slot machines or devices
13
      where things of value are won as a result of chance “irrespective of
14
      whether it may, apart from any element of hazard or chance, also sell,
15
      deliver, or present some…entertainment, or other thing of value” (Cal.
16
      Penal Code § 330.1(f)). The virtual coins that may be won by paying to play
17
      the slot machines in the Games are a “token” or “thing of value” as used in
18
      section 330.1 and as defined by section 330.2.
19
                   (e) California Penal Code § 337j(a)(1): By “operat[ing],
20
      carry[ing] on, conduct[ing], maintain[ing], or expos[ing] for play” unlicensed
21
      gambling in this state, ZGG violates Penal Code § 337j(a)(1).
22
23
                   (f) California Penal Code § 337j(a)(2): By “receiv[ing], directly

24    or indirectly, any compensation or reward or any percentage or share of the

25    revenue, for keeping, running, or carrying on any controlled game,”
26    Defendants each violate Penal Code § 337j(a)(2).
27                 (g) California Penal Code § 337j(a)(3): Through the
28    “manufacture, distribut[ion], or repair [of] any gambling equipment within


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1     the boundaries of this state” or “receiv[ing], directly or indirectly, any
2     compensation or reward for the manufacture, distribution, or repair of any
3     gambling equipment within the boundaries of this state” Defendants each
4     violate Penal Code § 337j(a)(3).
5                  (h) California Penal Code §319: “A lottery is any scheme for
6     the disposal or distribution of property by chance, among persons who
7     have paid or promised to pay any valuable consideration for the chance of
8     obtaining such property or a portion of it, or for any share or any interest in
9
      such property, upon any agreement, understanding, or expectation that it is
10
      to be distributed or disposed of by lot or chance, whether called a lottery,
11
      raffle, or gift enterprise, or by whatever name the same may be known.”
12
      The Games are illegal lotteries as defined by California Penal Code 319.
13
      Cal. Penal Code §§319, 322, 323, 326.
14
            283. Defendants have violated the “unlawful” prong under the UCL.
15
      Defendants have violated the above-identified California Penal Code
16
      sections by making, selling, distributing, entering into agreements relating
17
      to and profiting from the Games. Defendants have further violated the
18
      above-identified California Penal Code sections through the sale of virtual
19
      coins in the Games.
20
            284. Because Defendants’ profiting from the sale of virtual coins in
21
      the Games is illegal, Ms. Ochoa and members of the Classes, who by
22
23
      definition purchased such illegal virtual coins, have suffered a cognizable

24    harm under UCL. Debernardis v. IQ Formulations, LLC, 942 F.3d 1076,

25    1086 (11th Cir. 2019); Allergan U.S. v.Imprimis Pharm., Inc., 2019 U.S.
26    Dist. LEXIS 163228, at *27 n.9 (C.D. Cal. Mar. 27, 2019); Franz v.
27    Beiersdorf, Inc., 745 F. App’x 47, 48 (9th Cir. 2018)).
28          285. A business act or practice is “unfair” under the UCL if the


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1     reasons, justifications, and motives of the alleged wrongdoer are
2     outweighed by the gravity of the harm to the alleged victims. A business act
3     or practice is “fraudulent” under the UCL if it is likely to deceive members of
4     the consuming public.
5           286. The sale of virtual coins in the Games is unfair and fraudulent
6     under the UCL, because Defendants failed to disclose they are illegal
7     under California’s gambling laws. That omission was a material factor in
8     Ms. Ochoa’s decision to download, play and expend money purchasing
9
      virtual coins in Jackpot Master. Had Ms. Ochoa that Jackpot Master
10
      violated California’s gambling laws, she would not have downloaded and
11
      began playing it or spending money in Jackpot Master.
12
            287. As a result of these violations under each of the fraudulent,
13
      unfair, and unlawful prongs of the UCL, ZGG has been unjustly enriched at
14
      the expense of Ms. Ochoa and the putative class members. Specifically,
15
      ZGG has been unjustly enriched by obtaining revenues and profits it would
16
      not otherwise have obtained absent its false, misleading, and deceptive
17
      conduct. ZGG will continue to unjustly enrich from the Games from
18
      members of the putative class and other consumers if its conduct is not
19
      enjoined.
20
            288. Ms. Ochoa enjoys playing mobile games and is continuously in
21
      the market for lawful mobile games. As such, she is likely to continue to
22
23
      encounter Defendant’s unlawful Games absent injunctive relief.

24          289. Ms. Ochoa, on behalf of herself, the putative Classes and the

25    general public, request that this Court enjoin ZGG from violating the UCL
26    and California gambling laws with respect to Jackpot Master and any other
27    game it develops and publishes now or in the future, including without
28    limitation Cash Tornado and Jackpot Friends. Otherwise, Ms. Ochoa and


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1     the public will be irreparably harmed and/or denied an effective and
2     complete remedy if such an order is not granted. ZGG has demonstrated
3     its willingness to continue violating California gambling laws. Ms. Ochoa
4     and members of the public continue to use their mobile devices to
5     download mobile applications and therefore have a continuing interest in
6     ensuring that the applications available on the Apple and Google mobile
7     stores are not misleadingly distributing illegal, unlicensed and addictive
8     games of chance.
9
                            THIRD CLAIM FOR RELIEF
10            Violation of California False Advertising Law (“FAL”)
          Ms. Ochoa - Cal. Business & Professional Code §17500 et seq.
11
            290. Plaintiffs incorporate by reference all allegations in this
12
      Complaint and restates them as if fully set forth herein.
13
            291. The FAL prohibits unfair, deceptive, untrue, or misleading
14
      advertising, including, but not limited to, false statements as to worth, value,
15
      and former price.
16
            292. Furthermore, the FAL provides that: “No price shall be
17
18
      advertised as a former price of any advertised thing, unless the alleged

19    former price was the prevailing market price as above defined within three

20    months next immediately preceding the publication of the advertisement or
21    unless the date when the alleged former price did prevail is clearly, exactly
22    and conspicuously stated in the advertisement.” Cal. Bus. & Prof. Code
23    §17501.
24          293. The false strikethrough ads and false limited time special ads
25    misrepresent the existence of a sale whereby players can allegedly
26    purchase more gold than they normally could for the same price.
27          294. Ms. Ochoa enjoys playing mobile games and is continuously in
28    the market for lawful mobile games. As such, she is likely to continue to

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1     encounter Defendant’s unlawful Games absent injunctive relief.
2           295. ZGG is continuing to expose the general public to its false
3     advertising. Plaintiffs, members of the class and the general public continue
4     to use their mobile devices to explore new applications and therefore have
5     an ongoing interest in ZGG discontinuing its illegal, unfair and fraudulent
6     business practices.
7           296. Through its unfair acts and practices, ZGG has improperly
8     obtained money from Ms. Ochoa and members of the Classes. As such,
9
      Ms. Ochoa, on behalf of herself and the putative Classes, request that this
10
      Court cause ZGG to restore this money to her and the members of the
11
      Classes, and to enjoin ZGG from continuing to violate the FAL, and/or from
12
      violating the FAL in the future. Otherwise, Ms. Ochoa and members of the
13
      Classes may be irreparably harmed and/or denied an effective and
14
      complete remedy if such an order is no granted.
15
                            FOURTH CLAIM FOR RELIEF
16      Violation of the California Consumer Legal Remedies Act (“CLRA”)
17                          Cal. Civ. Code. §1750 et seq.
                       Ms. Ochoa - False and Misleading Sales
18
            297. Plaintiffs incorporate by reference all allegations in this
19
      Complaint and restate them as if fully set forth herein.
20
            298. Ms. Ochoa and members of the Classes are consumers within
21
      the meaning of Cal. Civ. Code §1761(d) and have engaged in a transaction
22
      within the meaning of Cal. Civ. Code §§1761(e) and 1770.
23
            299. ZGG is a “person” within the meaning of Cal. Civ. Code
24
      §§1761(c) and 1770 and sells “goods or services” within the meaning of
25
      Cal. Civ. Code §§1761(b) and 1770.
26
            300. Jackpot Master is a “service” within the meaning of Cal. Civ.
27
      Code. §§1761(a) and (b). Specifically, Jackpot Master provides online
28


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1     gaming services. The purchase of in-game gold in Jackpot Master is a
2     transaction for accessing those services. The purpose of the in-game gold
3     is to access the gameplay services offered by Jackpot Master and the
4     purchase of in-game gold is used to access those services.
5          301. ZGG’s May 2020 terms of service for Jackpot Master defines is
6     as “Services.” ZGG’s October 2022 terms of service for Jackpot Master
7     states that ZGG “provide[s] a service in the form of access to games.”
8          302. ZGG has violated §1770(a)(13)’s proscription against making
9
      false or misleading statements of fact concerning reasons for, existence of,
10
      or amounts of, price reductions by misrepresenting the existence of
11
      discounts for the purchase of gold coins via false strikethrough ads.
12
           303. Ms. Ochoa and the putative Classes suffered actual damages
13
      as a direct and proximate result of ZGG’s actions, concealment, and/or
14
      omissions in the advertising, marketing, and promotion of the Games, in
15
      violation of the CLRA, as evidenced by the substantial sums ZGG has
16
      pocketed.
17
           304. On June 9, 2022, Ms. Ochoa’s counsel wrote to ZGG enclosing
18
      a copy of her original complaint and seeking resolution of her claims. ZGG
19
      never responded.
20
           305. Ms. Ochoa’s First Amended Complaint set forth a CLRA cause
21
      of action that sought only injunctive relief. Paragraph 38 of the Ms. Ochoa’s
22
23
      First Amended Complaint, within the Third Claim Relief pursuant to CLRA,

24    states: “Plaintiff, on behalf of herself and the Class and Subclass, demands

25    judgment against Defendant for injunctive relief and attorney’s fees.”
26    ECF No. 2-1 at 16 (emphasis added). This claim for relief was specific to
27    the CLRA claim and deliberately excluded damages. While Ms. Ochoa’s
28    First Amended Complaint included in its Prayer for Relief a general request


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1     damages (Id. at 18), that general prayer for relief was not intended to apply
2     to the CLRA claim, which included its own specific claim for relief that was
3     limited to injunctive relief and attorneys’ fees.
4           306. More than thirty days after serving her FAC on Defendant, Ms.
5     Ochoa filed and served her Second Amended Complaint. Paragraph 95 of
6     the Second Amended Complaint changed the claim for relief for the CLRA
7     claim to specifically add damages, which was absent in the corresponding
8     sentence in the FAC: “Plaintiff, on behalf of herself and the Class and
9
      Subclass, demands judgment against Defendants for damages, injunctive
10
      relief and attorney’s fees.” SAC at ¶95 (emphasis added). This
11
      demonstrates Ms. Ochoa’s intent to limit the relief sought under CLRA
12
      claim in the FAC to only injunctive relief. Ms. Ochoa’s addition of a
13
      damages claim under CLRA in the SAC and in this Third Amended
14
      Complaint is therefore permissible under California Civil Code §1782(d).
15
            307. Even if it is found the original Complaint and First Amended
16
      Complaint inadvertently and impermissibly made a claim for damages
17
      under CLRA, Courts have found that the appropriate remedy is not
18
      dismissal, but to strike the prior damages claim with leave to amend
19
      pursuant to §1782(d). Deitz v. Comcast Corp., No. C 06-06352 WHA, 2006
20
      WL 3782902, at *6 (N.D. Cal. Dec. 21, 2006) (dismissing with leave to
21
      amend CLRA claim “[g]iven that the legislature specifically contemplated
22
23
      that an action seeking injunctions can be amended to include a damages

24    claim after the thirty days have run.”); Werdebaugh v. Blue Diamond

25    Growers, No. 12-CV-02724-LHK, 2013 WL 5487236, at *17 (N.D. Cal. Oct.
26    2, 2013) (holding plaintiff was not required to seek leave to amend under
27    Rule 15 in order to add his claim for CLRA money damages); Seifi v.
28    Mercedes-Benz USA, LLC, No. C12-5493 THE, 2013 WL 5568449 at *6


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1     (N.D. Cal. Oct. 9, 2013).
2           308. Ms. Ochoa enjoys playing mobile games and is continuously in
3     the market for lawful mobile games. As such, she is likely to continue to
4     encounter Defendant’s unlawful Games absent injunctive relief.
5           309. ZGG is continuing to expose the general public to its false
6     advertising. Plaintiffs, members of the class and the general public continue
7     to use their mobile devices to explore new applications and therefore have
8     an ongoing interest in ZGG discontinuing its illegal, unfair and fraudulent
9
      business practices.
10
            310. Plaintiffs, on behalf of themselves and the Classes, demand
11
      judgment against ZGG for injunctive relief and attorney’s fees and to the
12
      extent permitted by the Court, damages.
13
                              FIFTH CLAIM FOR RELIEF
14      Violation of the California Consumer Legal Remedies Act (“CLRA”)
15
                            Cal. Civ. Code. §1750 et seq.
                            Ms. Ochoa - Illegal Gambling
16
            311. Plaintiffs incorporate by reference all allegations in this
17
      Complaint and restate them as if fully set forth herein.
18
            312. Ms. Ochoa and members of the Classes are consumers within
19
      the meaning of Cal. Civ. Code §1761(d) and have engaged in a transaction
20
      within the meaning of Cal. Civ. Code §§1761(e) and 1770.
21
            313. ZGG is a “person” within the meaning of Cal. Civ. Code
22
      §§1761(c) and 1770 and sells “goods or services” within the meaning of
23
      Cal. Civ. Code §§1761(b) and 1770.
24
            314. The Games are each a “service” within the meaning of Cal. Civ.
25
      Code. §§1761(a) and (b). Specifically, the Games each provide online
26
      gaming services. The purchase of in-game gold for these games is a
27
      transaction for accessing those services. The only purpose of the in-game
28


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1     gold is to access the gameplay services offered by the Games and the
2     purchase of in-game gold is necessary to access those services when
3     players run out of such gold.
4           315. ZGG states in its terms of use for the Games that ZGG
5     “provide[s] a service in the form of access to games.”
6           316. By engaging in the conduct described herein, ZGG has violated
7     subdivision (a)(14) of California Civil Code §1770 by: “Representing that a
8     transaction confers or involves rights, remedies, or obligations that it does
9
      not have or involve, or that are prohibited by law.” Under this provision,
10
      omissions are actionable.
11
            317. ZGG has advertised the Games while omitting that the Games
12
      are engaged in illegal gambling.
13
            318. By engaging in the conduct described herein, ZGG has also
14
      violated subdivision (a)(26) of California Civil Code §1770 by “Advertising,
15
      offering for sale, or selling a financial product that is illegal under state or
16
      federal law….”
17
            319. ZGG advertises the Games and their illegal financial products
18
      on ZGG’s website, through social media and through the App Store and
19
      Play Store. ZGG also advertises, offers for sale and sells virtual coins in the
20
      Games that are illegal financial products.
21
            320. ZGG violated the CLRA by representing to or omitting from Ms.
22
23
      Ochoa and members of the Classes that the transactions involving virtual

24    coins in Jackpot Master confer or involve rights to potentially valuable

25    prizes, when in fact these transactions constitute unlawful gambling
26    transactions that are prohibited by law, foster compulsive and addictive
27    behavior, and are a predatory form of duplicitously profiting from others.
28    These omissions are material because a reasonable consumer would


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1     deem them important in determining how to act in the transaction at issue
2     and, if prohibited by law, should not have been permitted to purchase
3     virtual coins. Further, the omissions about virtual coins are misleading in
4     light of other facts that ZGG did disclose.
5           321. ZGG’s violations of the CLRA proximately caused injury in fact
6     to Ms. Ochoa and the members of the Classes.
7           322. Ms. Ochoa and the members of the Classes transacted with the
8     Jackpot Master on the belief that the transaction was lawful. Indeed, a
9
      reasonable consumer believes in the lawfulness of his or her transactions.
10
            323. Ms. Ochoa enjoys playing mobile games and is continuously in
11
      the market for lawful mobile games. As such, she is likely to continue to
12
      encounter Defendant’s unlawful Games absent injunctive relief.
13
            324. ZGG is continuing to expose the general public to its illegal
14
      gambling. Plaintiffs, members of the class and the general public continue
15
      to use their mobile devices to explore new applications and therefore have
16
      an ongoing interest in ZGG discontinuing its illegal, unfair and fraudulent
17
      business practices.
18
            325. Pursuant to Cal. Civ. Code § 1782(d), Ms. Ochoa, individually
19
      and on behalf of the other members of the Classes, seek a Court order
20
      enjoining the above-described wrongful acts and practices of ZGG and
21
      attorneys’ fees.
22
23
            326. Plaintiffs, individually and on behalf of the other members of the

24    Classes, do not presently seek damages for this claim for relief, but reserve

25    the right to seek leave to amend pursuant to §1782(d) to add a claim for
26    relief for damages.
27
28


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                               SIXTH CLAIM FOR RELIEF
1
                              California Common Law Fraud
2                             Ms. Ochoa – Illegal Gambling
3             327. Plaintiffs incorporate by reference all allegations in this
4     Complaint and restate them as if fully set forth herein.
5             328. ZGG advertised Jackpot Master to Ms. Ochoa and members of
6     the Classes and omitted that Jackpot Master violated California’s gambling
7     laws.
8             329. ZGG presented Jackpot Master publicly as a free-to-play “social
9     casino” game and omitted that Jackpot Master provided illegal games of
10    chance and slot machines under California law.
11            330. These representations and omissions were false because
12    Jackpot Master violates California’s gambling laws.
13            331. On information and belief, ZGG knew, actually or constructively,
14    that these representations and omissions were false following the Ninth
15    Circuit decision in Kater.
16
              332. These representations and omissions were material to the
17
      decision of Ms. Ochoa and members of the Classes in downloading and
18
      playing Jackpot Master.
19
              333. Ms. Ochoa and members of the Classes had a reasonable
20
      expectation that ZGG and Jackpot Master complied with California law,
21
      because ZGG is headquartered in California, its parent company is
22
      headquartered in California and it distributes Jackpot Master through
23
      mobile devices and storefronts owned and operated by California entities.
24
              334. Ms. Ochoa and members of the Classes reasonably relied on
25
      these representations and omissions in deciding to download and play
26
      Jackpot Master.
27
              335. Had Ms. Ochoa and members of the Classes known Jackpot
28


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1     Master was engaging in illegal gambling, they would not have downloaded
2     and played Jackpot Master.
3           336. Ms. Ochoa and members of the Classes were harmed, because
4     if they had never downloaded and played Jackpot Master they would not
5     have played its illegal slot machines, been subjected to its false advertising,
6     induced into making purchases of virtual coins and lost those coins to the
7     game’s slot machines.
8           337. ZGG is continuing to violate California’s gambling laws through
9
      the Games and has introduced at least one new game that also violates
10
      California’s gambling laws. ZGG’s continuing and expanding activities
11
      exposes the general public to illegal and addictive games of chance that
12
      will irreparably harm those and future consumers. Ms. Ochoa and members
13
      of the Classes have an ongoing interest in the legal compliance of games
14
      openly distributed in mobile storefronts, particularly when exposing the
15
      public, including minors, to illegal and addictive games of chance without
16
      warning, adequate disclosure or safeguards.
17
            338. The public harm caused by the Games and ZGG’s activities far
18
      outweigh any benefit.
19
            339. Ms. Ochoa enjoys playing mobile games and is continuously in
20
      the market for lawful mobile games. As such, she is likely to continue to
21
      encounter Defendant’s unlawful Games absent injunctive relief.
22
23
            340. Ms. Ochoa, on behalf of herself, the Classes and the public,

24    demand judgment against Defendants for equitable relief, including

25    injunctive relief, disgorgement of profits and attorney’s fees.
26
27
28


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1
                             SEVENTH CLAIM FOR RELIEF
2                            California Common Law Fraud
                             Ms. Ochoa – False Advertising
3
            341. Plaintiffs incorporate by reference all allegations in this
4
      Complaint and restate them as if fully set forth herein.
5
            342. ZGG represented to Ms. Ochoa and members of the Classes
6
      when they began playing Jackpot Master that Super Sale offers in Jackpot
7
      Master would be available for only a limited duration and that the stricken
8
      prices in the Super Sale ads represented the ordinary, normal and
9
      prevailing price for the listed quantity of gold coins offered in Jackpot
10
      Master.
11
            343. These representations were false because the prevailing price
12
13
      for the listed quantity of gold coins was lower than represented by ZGG in

14    the Super Sale offers presented to new users. These representations were

15    also false because the Super Sale offers would be offered repeatedly and
16    frequently, and are only unavailable for trivial periods of time, if any.
17          344. ZGG knew these representations were false, because it had
18    knowledge of and control over Jackpot Master’s advertisements and offers
19    for coins.
20          345. ZGG designed the graphical images of the advertisements in a
21    way that intentionally attracted Ms. Ochoa and the members of the Classes
22    to the enticing but false claims regarding gold amounts, pricing and the
23    duration of sales.
24          346. Ms. Ochoa and the putative Classes reasonably relied upon the
25    claims made in the advertisements in deciding to purchase the
26    aforementioned coin bundles.
27          347. Ms. Ochoa and the putative Classes were harmed because,
28


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1     had Ms. Ochoa and class members known the claims were false, they
2     would not have made some or all of those purchases.
3           348. Ms. Ochoa’s and class members’ reliance on ZGG’s
4     misrepresentations in its advertisements was a substantial factor in causing
5     harm to Ms. Ochoa and the putative Classes.
6           349. ZGG is continuing to deploy misleading Super Sale offers in
7     Jackpot Master and Cash Tornado and using the same misleading Super
8     Sale offers in a recently released game. Unless enjoined, ZGG will continue
9
      engaging in this false and misleading business practice, which induces
10
      users to spend money in ZGG’s games as early as possible and become
11
      trapped in an addictive compulsion loop of spending. ZGG’s ongoing
12
      conduct creates a risk of irreparable harm to the general public. Ms. Ochoa,
13
      members of the Classes and the public have an ongoing interest in
14
      preventing games being openly distributed in mobile storefronts that they
15
      continue to use from engaging in unfair and illegal business practices.
16
            350. Ms. Ochoa enjoys playing mobile games and is continuously in
17
      the market for lawful mobile games. As such, she is likely to continue to
18
      encounter Defendant’s unlawful Games absent injunctive relief.
19
            351. Ms. Ochoa, on behalf of herself, the Classes and the public,
20
      demands judgment against ZGG for damages, injunctive relief, restitution
21
      and attorney’s fees.
22
                              EIGHT CLAIM FOR RELIEF
23                           Negligent Misrepresentation
                             Ms. Ochoa – Illegal Gambling
24
            352. Plaintiffs incorporate by reference all allegations in this
25
      Complaint and restate them as if fully set forth herein.
26
            353. ZGG advertised Jackpot Master to Ms. Ochoa and members of
27
      the Classes and omitted that Jackpot Master violated California’s gambling
28


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1     laws.
2             354. ZGG presented Jackpot Master publicly as a free-to-play “social
3     casino” game and omitted that Jackpot Master provided illegal games of
4     chance and slot machines under California law.
5             355. These representations and omissions were false because
6     Jackpot Master violates California’s gambling laws.
7             356. ZGG has a duty to know whether its Games comply with
8     California gambling laws.
9
              357. On information and belief, ZGG should have known that these
10
      representations and omissions were false following the Ninth Circuit
11
      decision in Kater. On information and belief, ZGG did not take reasonable
12
      steps to ensure that its Games complied with California gambling laws.
13
              358. These representations and omissions were material to the
14
      decision of Ms. Ochoa and members of the Classes in downloading and
15
      playing Jackpot Master.
16
              359. Ms. Ochoa and members of the Classes had a reasonable
17
      expectation that ZGG and Jackpot Master complied with California law,
18
      because ZGG is headquartered in California, its parent company is
19
      headquartered in California and it distributes Jackpot Master through
20
      mobile devices and storefronts owned and operated by California entities.
21
              360. Ms. Ochoa and members of the Classes reasonably relied on
22
23
      these representations and omissions in deciding to download and play

24    Jackpot Master.

25            361. Had Ms. Ochoa and members of the Classes known Jackpot
26    Master was engaging in illegal gambling, they would not have downloaded
27    and played Jackpot Master.
28            362. Ms. Ochoa and members of the Classes were harmed, because


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1     if they had never downloaded and played Jackpot Master they would not
2     have played its illegal slot machines, been subjected to its false advertising,
3     induced into making purchases of virtual coins and lost those coins to the
4     game’s slot machines.
5           363. ZGG is continuing to violate California’s gambling laws through
6     the Games and has introduced at least one new game that also violates
7     California’s gambling laws. ZGG’s continuing and expanding activities
8     exposes the general public to illegal and addictive games of chance that
9
      will irreparably harm those and future consumers. Ms. Ochoa and members
10
      of the Classes have an ongoing interest in the legal compliance of games
11
      openly distributed in mobile storefronts, particularly when exposing the
12
      public, including minors, to illegal and addictive games of chance without
13
      warning, adequate disclosure or safeguards.
14
            364. The public harm caused by the Games and ZGG’s activities far
15
      outweigh any benefit.
16
            365. Ms. Ochoa enjoys playing mobile games and is continuously in
17
      the market for lawful mobile games. As such, she is likely to continue to
18
      encounter Defendant’s unlawful Games absent injunctive relief.
19
            366. Ms. Ochoa, on behalf of herself, the Classes and the public,
20
      demand judgment against Defendants for equitable relief, including
21
      injunctive relief, disgorgement of profits and attorney’s fees.
22
23                             NINTH CLAIM FOR RELIEF
                               Negligent Misrepresentation
24                            Ms. Ochoa – False Advertising
25
            367. Plaintiffs incorporate by reference all allegations in this
26
      Complaint and restate them as if fully set forth herein.
27
            368. ZGG represented to Ms. Ochoa and members of the Classes
28


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                                 FOURTH AMENDED COMPLAINT
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1     when they began playing Jackpot Master that Super Sale offers in Jackpot
2     Master would be available for only a limited duration and that the stricken
3     prices in the Super Sale ads represented the ordinary, normal and
4     prevailing price for the listed quantity of gold coins offered in Jackpot
5     Master.
6           369. These representations were false because the prevailing price
7     for the listed quantity of gold coins was lower than represented by ZGG in
8     the Super Sale offers presented to new users. These representations were
9
      also false because the Super Sale offers would be offered repeatedly and
10
      frequently, and are only unavailable for trivial periods of time, if any.
11
            370. ZGG should have known that these representations were false,
12
      because it had knowledge of and control over Jackpot Master's
13
      advertisements and offers for coins.
14
            371. ZGG designed the graphical images of the advertisements in a
15
      way that intentionally attracted Ms. Ochoa and the members of the Classes
16
      to the enticing but false claims regarding gold amounts, pricing and the
17
      duration of sales.
18
            372. Ms. Ochoa and the putative Classes reasonably relied upon the
19
      claims made in the advertisements in deciding to purchase the
20
      aforementioned coin bundles.
21
            373. Ms. Ochoa and the putative Classes were harmed because,
22
23
      had Ms. Ochoa and class members known the claims were false, they

24    would not have made some or all of those purchases.

25          374. Ms. Ochoa's and class members' reliance on ZGG's
26    misrepresentations in its advertisements was a substantial factor in causing
27    harm to Ms. Ochoa and the putative Classes.
28          375. ZGG is continuing to deploy misleading Super Sale offers in


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1     Jackpot Master and Cash Tornado and using the same misleading Super
2     Sale offers in a recently released game. Unless enjoined, ZGG will continue
3     engaging in this false and misleading business practice, which induces
4     users to spend money in ZGG's games as early as possible and become
5     trapped in an addictive compulsion loop of spending. ZGG's ongoing
6     conduct creates a risk of irreparable harm to the general public. Ms. Ochoa,
7     members of the Classes and the public have an ongoing interest in
8     preventing games being openly distributed in mobile storefronts that they
9
      continue to use from engaging in unfair and illegal business practices.
10
            376. The public harm caused by the Games and ZGG’s activities far
11
      outweigh any benefit.
12
            377. Ms. Ochoa enjoys playing mobile games and is continuously in
13
      the market for lawful mobile games. As such, she is likely to continue to
14
      encounter Defendant’s unlawful Games absent injunctive relief.
15
            378. Ms. Ochoa, on behalf of herself, the Classes and the public,
16
      demands judgment against ZGG for damages, injunctive relief, restitution
17
      and attorney's fees.
18
                               TENTH CLAIM FOR RELIEF
19                            Arkansas Common Law Fraud
20                            Ms. Brown – Illegal Gambling
21
            379. Plaintiffs incorporate by reference all allegations in this

22    Complaint and restate them as if fully set forth herein.

23          380. ZGG advertised Cash Tornado to Ms. Brown and members of
24    the Classes and omitted that Cash Tornado violates Arkansas and
25    California gambling laws, in addition to other state’s laws, such as
26    Washington.
27          381. ZGG presented Cash Tornado publicly as a free-to-play “social
28    casino” game and omitted that Cash Tornado provided illegal slot machines


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1     and games of chance under Arkansas and California law.
2           382. These representations and omissions were false because Cash
3     Tornado violates at least Arkansas and California gambling laws.
4           383. On information and belief, ZGG knew, actually or constructively,
5     that these representations and omissions were false following the Ninth
6     Circuit decision in Kater.
7           384. These representations and omissions were material to the
8     decision of Ms. Brown and members of the Classes in downloading and
9
      playing Cash Tornado.
10
            385. Ms. Brown and members of the Classes had a reasonable
11
      expectation that ZGG and Cash Tornado complied with California law,
12
      because ZGG is headquartered in California, its parent company is
13
      headquartered in California and it distributes Cash Tornado through mobile
14
      devices and storefronts owned and operated by California entities.
15
            386. Ms. Brown and members of the Arkansas Classes further had a
16
      reasonable expectation that ZGG and Cash Tornado complied with
17
      Arkansas law.
18
            387. Ms. Brown and members of the Classes reasonably relied on
19
      these representations and omissions in deciding to download and play
20
      Cash Tornado.
21
            388. Had Ms. Brown and members of the Classes known Cash
22
23
      Tornado was engaging in illegal gambling, they would not have

24    downloaded and played Cash Tornado.

25          389. Ms. Brown and members of the Classes were harmed, because
26    if they had never downloaded and played Cash Tornado they would not
27    have played its illegal slot machines, been subjected to its false advertising,
28    induced into making purchases of virtual coins and lost those coins to the


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1     game’s slot machines.
2           390. ZGG is continuing to violate Arkansas and California gambling
3     laws through the Games and has introduced at least one new game that
4     also violates Arkansas and California gambling laws. ZGG’s continuing and
5     expanding activities exposes the general public to illegal and addictive
6     games of chance that will irreparably harm those and future consumers.
7     Ms. Brown and members of the Classes have an ongoing interest in the
8     legal compliance of games openly distributed in mobile storefronts,
9
      particularly when exposing the public, including minors, to illegal and
10
      addictive games of chance without warning, adequate disclosure or
11
      safeguards.
12
            391. ZGG’s representations and omissions regarding Cash Tornado
13
      and its non-compliance with gambling laws in Arkansas and California
14
      constitute fraud under Arkansas common law. To the extent California fraud
15
      law cannot apply to certain class members, Arkansas fraud law can apply,
16
      because no differences in common law fraud under Arkansas and other
17
      state laws are material to the claims here.
18
            392. Ms. Brown enjoys playing mobile games and is continuously in
19
      the market for lawful mobile games. As such, she is likely to continue to
20
      encounter Defendant’s unlawful Games absent injunctive relief.
21
            393. The public harm caused by the Games and ZGG’s activities far
22
23
      outweigh any benefit.

24          394. Ms. Brown, on behalf of herself, the Classes and the public,

25    demand judgment against Defendants under Arkansas common law fraud
26    for damages, restitution, equitable relief, including injunctive relief,
27    disgorgement of profits and attorney’s fees.
28


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1
                            ELEVENTH CAUSE OF ACTION
2                           Arkansas Common Law Fraud
                            Ms. Brown – False Advertising
3
            395. Plaintiffs incorporate by reference all allegations in this
4
      Complaint and restate them as if fully set forth herein.
5
            396. ZGG represented to Ms. Brown and members of the Classes
6
      when they began playing Cash Tornado that Super Sale offers in Cash
7
      Tornado would be available for only a limited duration and that the stricken
8
      prices in the Super Sale ads represented the ordinary, normal and
9
      prevailing price for the listed quantity of gold coins offered in Cash Tornado.
10
            397. These representations were false because the prevailing price
11
      for the listed quantity of gold coins was lower than represented by ZGG in
12
13
      the Super Sale offers presented to new users. These representations were

14    also false because the Super Sale offers would be offered repeatedly and

15    frequently, and are only unavailable for trivial periods of time, if any.
16          398. ZGG knew these representations were false, because it had
17    knowledge of and control over Cash Tornado’s advertisements and offers
18    for coins.
19          399. ZGG designed the graphical images of the advertisements in a
20    way that intentionally attracted Ms. Brown and the members of the Classes
21    to the enticing but false claims regarding gold amounts, pricing and the
22    duration of sales.
23          400. Ms. Brown and the putative Classes reasonably relied upon the
24    claims made in the advertisements in deciding to purchase the
25    aforementioned coin bundles.
26          401. Ms. Brown and the putative Classes were harmed because, had
27    Ms. Brown and class members known the claims were false, they would not
28


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1     have made some or all of those purchases.
2           402. Ms. Brown’s and class members’ reliance on ZGG’s
3     misrepresentations in its advertisements was a substantial factor in causing
4     harm to Ms. Brown and the putative Classes.
5           403. ZGG is continuing to deploy misleading Super Sale offers in
6     Cash Tornado and using the same misleading Super Sale offers in a
7     recently released game. Unless enjoined, ZGG will continue engaging in
8     this false and misleading business practice, which induces users to spend
9
      money in ZGG’s games as early as possible and become trapped in an
10
      addictive compulsion loop of spending. ZGG’s ongoing conduct creates a
11
      risk of irreparable harm to the general public. Ms. Brown, members of the
12
      Classes and the public have an ongoing interest in preventing games being
13
      openly distributed in mobile storefronts that they continue to use from
14
      engaging in unfair and illegal business practices.
15
            404. ZGG’s misrepresentations in Super Sale offers in Cash Tornado
16
      constitute fraud under Arkansas common law. To the extent California fraud
17
      law cannot apply to certain class members, Arkansas fraud law can apply,
18
      because no differences in common law fraud under Arkansas and other
19
      state laws are material to the claims here.
20
            405. Ms. Brown enjoys playing mobile games and is continuously in
21
      the market for lawful mobile games. As such, she is likely to continue to
22
23
      encounter Defendant’s unlawful Games absent injunctive relief.

24          406. The public harm caused by the Games and ZGG’s activities far

25    outweigh any benefit.
26          407. Ms. Brown, on behalf of herself, the Classes and the public,
27    demand judgment against Defendants under Arkansas common law fraud
28    for damages, restitution, equitable relief, including injunctive relief,


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1     disgorgement of profits and attorney’s fees.
2
                           TWELFTH CLAIM FOR RELIEF
3                      Arkansas Deceptive Trade Practices Act
                            Ms. Brown – Illegal Gambling
4
            408. Plaintiffs incorporate by reference all allegations in this
5
      Complaint and restate them as if fully set forth herein.
6
            409. Arkansas Code §4-88-107(a) states that “[d]eceptive and
7
      unconscionable trade practices made unlawful and prohibited by this
8
      chapter include, but are not limited to, the following…(10) Engaging in any
9
      other unconscionable, false, or deceptive act or practice in business,
10
      commerce, or trade…”
11
            410. Defendant engages in unconscionable, false, or deceptive acts
12
13
      or practices in the Games by deploying games of chance that are illegal

14    under at least Arkansas, California and Washington law.

15          411. Arkansas Code §4-88-108 states: “(a) When utilized in
16    connection with the sale or advertisement of any goods, services, or
17    charitable solicitation, the following is unlawful: (1) The act, use, or
18    employment by a person of any deception, fraud, or false pretense; (2) The
19    concealment, suppression, or omission of any material fact with intent that
20    others rely upon the concealment, suppression, or omission…”
21          412. Defendant utilizes in connection with the Games deception,
22    fraud, false pretense, concealment, suppression, or omissions of material
23    facts with the intent that others rely upon the concealment, suppression or
24    omission. Defendant omits, conceals or suppresses that Cash Tornado
25    violates at least Arkansas, California and Washington gambling laws.
26          413. Arkansas Code §4-88-113(f) provides: “A person who suffers an
27    actual financial loss as a result of his or her reliance on the use of a
28


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1     practice declared unlawful by this chapter may bring an action to recover
2     his or her actual financial loss proximately caused by the offense or
3     violation, as defined in this chapter… To prevail on a claim brought under
4     this subsection, a claimant must prove individually that he or she suffered
5     an actual financial loss proximately caused by his or her reliance on the use
6     of a practice declared unlawful under this chapter…A court may award
7     reasonable attorney's fees.”
8           414. Ms. Brown suffered an actual financial loss as a result of her
9
      reliance of Defendant’s unlawful business practices. Defendant’s unlawful,
10
      unconscionable and deceptive business practices and Defendant’s
11
      deception, fraud, false pretense, concealment, suppression, or omissions of
12
      material facts were proximate causes of Ms. Brown’s purchase and loss of
13
      virtual coins in Cash Tornado.
14
            415. Ms. Brown seeks damages and attorneys’ fees.
15
            416. Ms. Brown brings this claim on her own behalf and not on
16
      behalf of any of the Classes.
17
18                        THIRTEENTH CLAIM FOR RELIEF
                       Arkansas Deceptive Trade Practices Act
19                         Ms. Brown – False Advertising
20          417. Plaintiffs incorporate by reference all allegations in this
21    Complaint and restate them as if fully set forth herein.
22          418. Arkansas Code §4-88-107(a) states that “[d]eceptive and
23    unconscionable trade practices made unlawful and prohibited by this
24    chapter include, but are not limited to, the following…(10) Engaging in any
25    other unconscionable, false, or deceptive act or practice in business,
26    commerce, or trade…”
27          419. Defendant engages in unconscionable, false, or deceptive acts
28


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                                FOURTH AMENDED COMPLAINT
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1     or practices in the Games by providing false and misleading Super Sale
2     offers.
3           420. Arkansas Code §4-88-108 states: “(a) When utilized in
4     connection with the sale or advertisement of any goods, services, or
5     charitable solicitation, the following is unlawful: (1) The act, use, or
6     employment by a person of any deception, fraud, or false pretense; (2) The
7     concealment, suppression, or omission of any material fact with intent that
8     others rely upon the concealment, suppression, or omission…”
9
            421. Defendant utilizes in connection with the Games deception,
10
      fraud, false pretense, concealment, suppression, or omissions of material
11
      facts with the intent that others rely upon the concealment, suppression or
12
      omission. Defendant utilize deception, fraud and false pretense in
13
      connection with Super Sale offers in Cash Tornado.
14
            422. Arkansas Code §4-88-113(f) provides: “A person who suffers an
15
      actual financial loss as a result of his or her reliance on the use of a
16
      practice declared unlawful by this chapter may bring an action to recover
17
      his or her actual financial loss proximately caused by the offense or
18
      violation, as defined in this chapter… To prevail on a claim brought under
19
      this subsection, a claimant must prove individually that he or she suffered
20
      an actual financial loss proximately caused by his or her reliance on the use
21
      of a practice declared unlawful under this chapter…A court may award
22
23
      reasonable attorney's fees.”

24          423. Ms. Brown suffered an actual financial loss as a result of her

25    reliance of Defendant’s unlawful business practices. Defendant’s unlawful,
26    unconscionable and deceptive business practices and Defendant’s
27    deception, fraud, false pretense, concealment, suppression, or omissions of
28    material facts were proximate causes of Ms. Brown’s purchase and loss of


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1     virtual coins in Cash Tornado.
2           424. Ms. Brown seeks damages and attorneys’ fees. Ms. Brown
3     brings this claim on her own behalf and not on behalf of any of the Classes.
4
                          FOURTEENTH CLAIM FOR RELIEF
5                     Arkansas Common Law Unjust Enrichment
                                  (Ms. Brown)
6
            425. Plaintiffs reallege and incorporate by reference the allegations
7
      set forth in each of the preceding paragraphs of this Complaint.
8
            426. By their wrongful acts and omissions, ZGG was unjustly
9
      enriched at the expense of and to the detriment of Ms. Brown and the
10
      Classes. ZGG received something of value to which ZGG is not entitled
11
      and which should be restored.
12
13
            427. ZGG were unjustly enriched as a result of the compensation it

14    received from owning, operating, entering into agreements relating to and

15    profiting from products and services that violate Arkansas and California
16    gambling laws and from operating a gambling enterprise without proper
17    public notice, safeguards or licenses.
18          428. ZGG was unjustly enriched as a result of the compensation it
19    received from the misleading marketing and sale of virtual coins in Cash
20    Tornado to Ms. Brown and the members of the Classes.
21          429. ZGG employed false and misleading advertising to induce
22    players into making purchases they otherwise would not have made.
23    Requiring ZGG to repay these ill-gotten monies is reasonable and fair.
24          430. It is also reasonable that if Cash Tornado employ an element of
25    gambling to make money illegally, ZGG should not be allowed to enjoy
26    profits from that illegal activity.
27          431. Ms. Brown on behalf of herself and the Classes seeks
28


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1     restitution from ZGG and an order of this Court disgorging all profits,
2     benefits, and other compensation obtained by ZGG from its wrongful
3     conduct.
4           432. Ms. Brown and the Classes have no adequate remedy at law.
5                                  PRAYER FOR RELIEF
6     Plaintiff prays for relief and judgment against Defendant as follows:
7        A. Certifying the proposed Classes defined herein;
8        B. Appointing Plaintiffs as Class Representatives;
9
         C. Appointing counsel for Plaintiffs as Class Counsel;
10
         D. Declaring Defendants’ conduct to be unlawful;
11
         E. Awarding Plaintiff and members of the Classes compensatory
12
            damages and actual damages in an amount to be determined by
13
            proof;
14
         F. Awarding Plaintiff and members of the Classes actual and statutory
15
            damages;
16
         G. Disgorging Defendants of its unjust profits;
17
         H. For punitive damages;
18
         I. For civil penalties;
19
         J. For declaratory and equitable relief, including restitution and
20
            disgorgement;
21
         K. For an order enjoining Defendants from continuing to engage in the
22
23
            wrongful acts and practices alleged herein;

24       L. Awarding Plaintiffs the costs of prosecuting this action, including

25          expert witness fees;
26       M. Awarding Plaintiffs reasonable attorney’s fees and costs as allowable
27          by law;
28       N. Awarding pre-judgment and post-judgment interest; and


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1        O. Granting any other relief as this Court may deem just and proper.
2
3
4
      DATED: June 6, 2023                        THE RYAN LAW GROUP
5
6
                                                 /s/ Andrew T. Ryan
7                                                Andrew T. Ryan
8                                                Attorney for Plaintiff
9
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1                                   JURY DEMAND
2           Plaintiff hereby demands a jury trial on all issues and claims so
3     triable.
4
5
6
      DATED: June 6, 2023                        THE RYAN LAW GROUP
7
8                                                /s/Andrew T. Ryan
                                                 Andrew T. Ryan
9
                                                 Attorney for Plaintiff
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 1
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 2
       Ochoa, et al. v. Zeroo Gravity Games, LLC, et al.
 3
       Case No. 2:22-cv-05896
 4
                            CERTIFICATE OF SERVICE
 5           I, Andrew T. Ryan, certify that I am an attorney licensed to practice
 6     before all Courts in the State of California and United States District Court
 7     for the Central District of California. On this date, I served the foregoing
 8     documents (s):
 9
   PLAINTIFF’S FOURTH AMENDED COMPLAINT
10       A true and correct copy of the above entitled document(s) was sent via
11 electronic mail to the email addresses listed below:
12    Michael A. Berta
      Email: michael.berta@arnoldporter.com
13    Joseph Farris
      Email: joseph.farris@arnoldporter.com
14    Estayvaine Bragg
      Email: estayvaine.bragg@arnoldporter.com
15    Arnold & Porter Kaye Scholer LLP
16
      Three Embarcadero Center, 10th Floor
      San Francisco, CA 94111-4024
17
      Telephone: (415) 471-3100
      Facsimile: (415) 471-3400
18
      Attorneys for Defendants
19
20
            I declare the foregoing to be true and correct under penalty of perjury
21
       under the laws of the United States and the State of California.
22
23
       Dated: June 6, 2023
24
25                                                      /s/ Andrew T. Ryan
26                                                      Andrew T. Ryan
27
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                                 FOURTH AMENDED COMPLAINT
